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10
11                                UNITED STATES DISTRICT COURT
12                              NORTHERN DISTRICT OF CALIFORNIA
13                                        OAKLAND DIVISION
14
     A.C. and JOHN DOE,                                   Case No.:
15
                            Plaintiffs,                   COMPLAINT FOR PERSONAL
16                                                        INJURIES
17          vs.
                                                          JURY TRIAL DEMAND
18 META PLATFORMS, INC., formerly known as
   FACEBOOK, INC.; SNAP, INC.; and DOES 1 –
19 100, INCLUSIVE,
20
                    Defendants.
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22
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24
25
26
27          COME NOW PLAINTIFFS A.C. and JOHN DOE and allege as follows:

28



                                              COMPLAINT                            1
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            “In these digital public spaces, which are privately owned and tend to be run for
 1
            profit, there can be tension between what’s best for the technology company and
 2          what’s best for the individual user or for society. Business models are often built
            around maximizing user engagement as opposed to safeguarding users’ health and
 3          ensuring that users engage with one another in safe and healthy ways. . . .
            Technology companies must step up and take responsibility for creating a safe
 4
            digital environment for children and youth. Today, most companies are not
 5          transparent about the impact of their products, which prevents parents and young
            people from making informed decisions and researchers from identifying problems
 6          and solutions.”
 7 Protecting Youth Mental Health, The U.S. Surgeon General’s Advisory (December 7, 2021)
 8
            Plaintiff A.C., individually and on behalf of his minor child, John Doe, brings this action
 9
   for personal injuries against Meta Platforms, Inc., formerly known as Facebook, Inc., and Snap,
10
   Inc., for injuries caused to each of them as a result of John Doe’s use of the defective and inherently
11
   dangerous Instagram and Snapchat social media products and alleges as follows:
12
                                         I.     INTRODUCTION
13
            1.      This product liability action seeks to hold Defendants’ Instagram and Snapchat
14
   products responsible for causing and contributing to the burgeoning mental health crisis
15
   perpetrated upon the children and teenagers of the United States by Meta and Snap, and specifically
16
   for the injuries they caused Plaintiffs A.C. and John Doe in 2022, when John Doe was only 14.
17
   John Doe and A.C.’s injuries were proximately caused by Defendants’ defective and unreasonably
18
   dangerous Instagram and Snapchat products, including specific product features that are
19
20 unnecessary to the functionality of their products and are known by them to be harmful to a
21 significant number of their minor users. The injuries at issue in this lawsuit include but are not
22 limited to anxiety, depression, exploitation, and related mental health harms suffered by John Doe
23 and his father as a result of Defendant Meta and Snap’s actions and failures to act.
24          2.      Meta and Snap target and market their products to children and teens, representing

25 to the public, and even Congress, that their social media products are not addictive and are designed
26 to be fun and safe for kids, and that they use all available technologies to keep underage users safe.
27          3.      In truth, however, Defendants’ products are designed in a manner that encourages
28 and assists minor users in evading parental authority and control, resulting in Defendants’



                                               COMPLAINT                                                2
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 1 distribution and profits from distribution of their products to millions of unauthorized, minor users;
 2 Defendants have invested billions of dollars to design and develop addictive product features,
 3 including features designed to exploit minor users’ physiological and psychosocial vulnerabilities;
 4 and Defendants have designed, and implement in the case of minor accounts, specific product
 5 features that promote and enable the connection of minors with predatory adults and resulting
 6 exploitation and abuse of the kinds at issue in this case. Moreover, Defendants then designed their
 7
   products and processes in a manner that prevents parents from protecting their children from the
 8
   harms being caused by and/or perpetrated because of Defendants’ social media products.
 9
           4.     Defendants know or should know of each of these product defects and/or inherently
10
   harmful product features, and the harms directly and proximately caused by them.
11
           5.     Meta and Snap do not warn users or parents about these known defects and/or
12
   inherently dangerous product features and, again, do not provide reasonable, accessible, and
13
   effectual reporting mechanisms for parents to protect their children from these harms. On the
14
   contrary, Defendants’ reporting systems are designed and/or operated in such a defective manner
15
   that even parents who work in the technology industry are powerless to protect their children and
16
   others from identified harms.
17
           6.     Plaintiffs bring claims of strict liability based upon Defendants’ defective design of
18
19 their social media products that renders such products not reasonably safe for ordinary consumers
20 or minor users. It is technologically feasible to design social media products that substantially
21 decrease both the incidence and magnitude of harm to minors arising from their foreseeable use of
22 Defendants’ products with a negligible increase in production cost.
23          7.      Plaintiffs also bring claims for strict liability based on Defendants’ failure to

24 provide adequate warnings to minor users and their parents of the danger of mental, physical, and
25 emotional harms arising from foreseeable use of their social media products. The addictive
26 qualities of Defendants’ products and harms caused by their recommendation technologies,
27 account settings, and other product features were known to Defendants but are unknown to minor
28 users and their parents.



                                               COMPLAINT                                               3
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 1          8.      Plaintiffs also bring claims for common law negligence arising from Defendants’
 2 unreasonably dangerous social media products and their failure to warn of such dangers.
 3 Defendants knew, or in the exercise of ordinary care should have known, that their social media
 4 products were harmful to a significant percentage of their minor users and failed to redesign their
 5 products to ameliorate these harms or warn minor users and their parents of dangers arising out of
 6 the foreseeable use of their product.
 7
           9.      Plaintiffs bring claims under California’s Unfair Competition Law (“UCL”), Cal.
 8
   Bus. & Prof. Code, §§17200, et seq. The conduct and omissions alleged herein constitute unlawful,
 9
   unfair, and/or fraudulent business practices prohibited by the UCL.
10
           10.     Plaintiffs bring claims for invasion of privacy. Defendants’ conduct detailed herein
11
   frustrated and intruded upon Plaintiff A.C.’s fundamental right to protect his child and to monitor
12
   and control his child’s use of social media, and this intrusion occurred in a manner that was highly
13
   offensive to a reasonable person.
14
           11.     Lastly, Plaintiffs bring claims for intentional and/or negligent infliction of
15
   emotional distress against Defendant Meta. Meta is distributing a defective product and/or a
16
   product that is inherently harmful to a significant number of its minor users, and then deprives
17
   parents of any reasonable or effective means to report and put a stop to such harms. Even when
18
19 Meta receives reports, it routinely does not act or acts in a manner insufficient to protect minor
20 users from the reported harms, which failures foreseeably and proximately cause extreme stress,
21 anxiety, and emotional harm to reporting parents, in this case, Plaintiff A.C.
22                                          II.     PARTIES

23          12.     Plaintiff A.C. is the parent and legal guardian of John Doe and John Doe is currently

24 15 years old. Plaintiff A.C. has not entered into a User Agreement or other contractual relationship
25 with any of the Defendants herein in connection with John Doe’s use of Defendants’ products and
26 disaffirms all agreements that John Doe may have entered with Defendants. As such, Plaintiffs are
27 not bound by any arbitration, forum selection, choice of law, or class action waiver set forth in any
28 such agreements.



                                              COMPLAINT                                                4
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 1           13.    Defendant Meta Platforms, Inc., formerly known as Facebook, Inc., is a Delaware
 2 corporation with its principal place of business in Menlo Park, CA. Defendant Meta Platforms
 3 owns and operates the Facebook and Instagram social media platforms, which are made widely
 4 available to users throughout the United States, and manufactures and sells the Oculus virtual
 5 reality headset, which it operates directly via its Facebook social media platform, also made widely
 6 available to users throughout the United States.
 7
          14.      At all times relevant hereto, Defendant Meta Platforms, Inc. was acting by and
 8
   through its employees, servants, agents, workmen, and/or staff, all of whom were acting within
 9
   the course and scope of their employment, for and on behalf of Meta Platforms, Inc.
10
          15.      Defendant Snap, Inc. is a Delaware corporation with its principal place of business
11
   in Santa Monica, CA. Defendant Snap owns and operates the Snapchat social media platform, an
12
   application that is widely marketed by Snap and available to users throughout the United States.
13
          16.      At all times relevant hereto, Defendant Snap, Inc. was acting by and through its
14
   employees, servants, agents, workmen, and/or staff, all of whom were acting within the course and
15
   scope of their employment, for and on behalf of Snap, Inc.
16
                               III.    JURISDICTION AND VENUE
17
          17.      This Court has subject-matter jurisdiction over this case under 28 U.S.C. § 1332(a)
18
19 because the amount in controversy exceeds $75,000, and Plaintiffs and Defendants are residents
20 of different states.
21           18.    This Court has general jurisdiction over Defendants Meta and Snap because their

22 principal place of business is in California, and they are “at home” in this State. This Court also
23 has specific jurisdiction over Defendants because Plaintiffs’ claims set forth herein arise out of
24 and relate to its activities in the State of California.
25           19.    Venue is proper in this District under 28 U.S.C. § 1391(b) because Meta resides in
26 the Northern District of California and a substantial part of the events or omissions giving rise to
27 Plaintiffs’ claims occurred in this District.
28



                                                COMPLAINT                                            5
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 1                                      IV.      FACTUAL ALLEGATIONS
 2            20.      In late 2021, a Facebook whistleblower disclosed thousands of internal Meta
 3 documents to the United States Securities Exchange Commission (the “SEC”) and Congress. The
 4 Facebook Papers prove known dangerous designs and design defects as well as operational
 5 decisions and calculations, and a causal relationship between use of Defendants’ various social
 6 media products in their current form and resulting addiction, anxiety, depression, eating disorders,
 7
   exploitation and grooming, and what Meta internally refers to as “SSI” (Suicide and Self Injury).
 8
   While the Facebook Papers originate from Meta, they prove known dangerous designs and design
 9
   defects as well as other dangers caused by the social media products of both Defendants. 1                    0F




10
            21.    Defendants have knowledge about the harms their products cause users,
11
   particularly teens, children, and other vulnerable user populations, and Defendants continue to
12
   operate their products in a harmful and dangerous manner anyway.
13
            22.    Defendants are making calculated cost-benefit business decisions and are
14
   prioritizing their already astronomical profits over human life.
15
   A.       Meta and its Facebook and Instagram Products
16
            23.    “Facebook connects people. It’s what we do. And real connection can only happen
17
   on safe and secure platforms. That’s why we build technology that gives you more control and
18
19 helps keep you safe.” These words are the opening lines from a television advertisement Meta—
20 the creator of popular social media platform Facebook—launched earlier this year. As these words
21 are spoken by a voice actor, images of smiling Facebook users—many of whom, like in the
22 screenshot from this advertisement below, appear to be children—flash on screen. The
23 advertisement goes on to identify a number of specific safety features, including “industry leading
24 AI” that represent “tools that can protect—so you can connect.”
25
26   1
       Examples of the Facebook papers have been published by the Wall Street Journal (https://digitalwellbeing.org/the-
     facebook-files-on-instagram-harms-all-leaked-slides-on-a-single-page/), Gizmodo (https://gizmodo.com/facebook-
27
     papers-how-to-read-1848702919), and other publishers, and have been disclosed to the SEC, Congress, and others on
28   a global scale. Plaintiffs expressly incorporate all such documents into this Complaint by reference, which are central
     and material to certain of Plaintiffs’ claims.



                                                       COMPLAINT                                                          6
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            24.     This is not a new message for Meta. Since the company’s initial public offering
10
     (and before), Meta claimed that Facebook (and later, Meta’s Instagram product) “include[s] robust
11
12 safety tools” and “take[s] into account the unique needs of teenagers who use our service.” It has
13 repeated variations of these claims a staggering number of times in a wide variety of mediums.
14 Over and over again, Meta has claimed that Facebook and Instagram are safe for children and
15 teenagers to use because of the company’s algorithmic and non-algorithmic safety tools.
16          25.     Meta was founded in 2004 and is the world’s largest social media company. While

17 Instagram began as a simple photo-sharing application, which Meta purchased in 2012.
18          26.     When Meta began, access to its products was limited to college students, with email
19 and/or domain verification to confirm the same. Then, in September 2006, Meta opened Facebook
20 up to everyone. It claimed that it provided access only to persons 13 and older, and that users under
21 18 should obtain parental consent. But it stopped verifying age or identity, to the point where Meta
22 does not even verify existence of a valid email address – meaning that underage users and predators
23 enter nonsense email addresses and Meta provides access to limitless Facebook and Instagram
24
   accounts anyway. These product changes have proven good for Meta’s bottom line but resulted in
25
   the complete absence of any safety features for children and teens.
26
          27.    In 2009, Meta launched the “like” button product and, in 2011, it launched
27
   Facebook Messenger. By 2012, when Meta acquired the Instagram social media product, it was
28



                                              COMPLAINT                                               7
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 1 making rapid and significant changes to all its social media products – including Facebook and
 2 Instagram – which changes focused entirely on increasing engagement at any cost. This included
 3 product changes, as well as changes in data collection and advertising policies and procedures;
 4 essentially any change Meta could devise that might bolster engagement and revenue, particularly
 5 among children and teens, and create greater addiction and network effects features to ensure that
 6 those users would be locked-in to its social media products for years to come – but at the expense
 7
   of user safety and autonomy.
 8
           28.     To name only one example, Meta developed and patented its News Feed product,
 9
   see U.S. Patent No. 8,171,128, “Communicating a newsfeed of media content on a member’s
10
   interactions in a social network environment” (filed August 11, 2006, granted May 1, 2012). The
11
   patent “describes keeping a profile of each person on the social network in a database, identifying
12
   relationships between said users, generating ‘stories’ based on the connections, and then creating
13
   a News Feed for each user.” 2 Internal Meta documents confirm that in or around 2016 Meta made
                                      1F




14
   changes to operation of its News Feed product, which significantly increased engagement, at the
15
   expense of user safety. This was only one such change made by Meta in that time frame.
16
           29.     With the knowledge that teen and child users were Meta’s only opportunity for
17
   growth in the United States, Meta ramped up its marketing to children and teens – including and
18
19 specifically to children under the age of 13. It designed several new products and re-designed
20 several existing products on its Facebook and Instagram platforms, launched and marketed games
21 and emojis, and became significantly more involved with content creation. It also made it easier
22 for kids to hide accounts and switch between accounts on a single device and, at one point,
23 launched a campaign to ensure that all teens knew of their ability to open multiple accounts.
24            30.      Meta also creates images and GIFs for users to post on their videos and pictures in
25
     2
       See https://www.zdnet.com/article/facebook-patents-the-news-feed/; see also, e.g.
26
     https://info.ipvisioninc.com/blog/4-creepy-facebook-patents-that-are-actually-real (discusses various, invasive social
     media products for which Meta has obtained patents, which Meta may or may not be using on its users – which
27
     information is known only to Meta); https://www.forbes.com/sites/nicolemartin1/2018/11/20/facebook-files-
28   algorithm-patent-to-predict-who-you-live-with/?sh=3b987fe73544 (discussing Facebook patent application to use
     algorithms to determine who lives in the same household);



                                                      COMPLAINT                                                           8
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 1 connection with its Facebook and Instagram products. Meta has also acquired publishing rights to
 2 thousands of hours of music, which it provides to its users to attach to the videos and pictures that
 3 they post on Facebook and/or Instagram. The GIFs, images, and music are integral to the user’s
 4 post and are, in fact, designed to encourage posting. Indeed, in many cases, the only content in a
 5 user’s post is the image, GIF or music supplied by Meta. When users incorporate images, GIFs,
 6 and music supplied by Meta into their postings, Meta is functioning as a co-publisher of such
 7
   content. A Facebook and/or Instagram user who incorporates images, GIFs or music supplied by
 8
   Meta into their post is functionally equivalent to a novelist who incorporates illustrations into their
 9
   story. Instagram can no longer characterize the images, GIFs, and music it supplies to its users as
10
   third-party content, just as the novelist cannot disclaim responsibility for illustrations contained in
11
   their book. Meta has made the deliberate decision to collaborate with its users in this regard and,
12
   as evidenced by Meta’s internal documents, Meta’s decision is motivated by the fact that such
13
   collaboration results in increased engagement, advertising revenue, and other profits for Meta
14
   itself.
15
           31.     Meta also has ownership and/or licensing, and other legal, rights in all third-party
16
   content, such that it is not “third-party content” at all. To name only one example, in 2012, Meta
17
   revised its Instagram Terms of Service to the following, 3
18
                                                                     2F




19
20
21
22 Its current terms (effective January 4, 2022) are different, but still grant Meta the right to use all
23 third-party content at Meta’s sole and unilateral discretion and in connection with all its social
24 media products.
25
          32.    Meta knows that it is harming teens yet, when faced with recommendations that
26
   would reduce such harms, Meta’s leadership has consistently opted for prioritization of profit over
27
28   3
         https://www.theverge.com/2012/12/18/3780158/instagrams-new-terms-of-service-what-they-really-mean



                                                     COMPLAINT                                               9
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 1 the health and well-being of its teen users – including product changes that, if adopted by Meta,
 2 would have prevented harms at issue in this lawsuit.
 3 B.           Snap and its Snapchat Product
 4              33.      Snapchat was founded in 2011, by three Stanford college students, and was
 5 originally called Pictaboo. It started as a simple app with the idea that it would be nice to be able
 6 to send photos to friends that would disappear. Months after its launch, Pictaboo had only amassed
 7
   127 users, 4 however, so it changed its name to Snapchat and began marketing to and targeting high
                   3F




 8
   school students. Within a year, and with its new target audience of children and teens, Snapchat
 9
   grew to more than 100,000 users.
10
           34.    The Snapchat social media product quickly evolved from there, as its leadership
11
   made design changes and rapidly developed new product features intended to, and that did,
12
   increase its popularity among minors. This included video capabilities (2012); “Stories” and
13
   “Chat” features (2013); live video chat capabilities, text conversations, “Our Story,” Geofilters,
14
   and Snapcash (2014); Discovery, QR code incorporation, and facial recognition software (2015);
15
   Memories and Snapchat Groups (2016).
16
           35.    By 2015, advertisements were pervasive on Snapchat and, by 2018, 99% of Snap’s
17
   total revenue came from advertising, according to internal company records. In other words, Snap
18
19 decided to monetize its userbase and, from that point forward, began changing its product in ways
20 that made its product even more harmful to users but that paved the way for growth, engagement,
21 and profits for Snap and its leadership and investors.
22              36.      The Snapchat product is best known for its self-destructing content feature. Snap’s

23 product allows users to form groups and share posts or “Snaps” that disappear after being viewed
24 by the recipients. Snap emphasizes that everything you do on Snap disappears, and even notifies
25 senders when someone takes a screenshot. These products and promises appeal to minor users,
26 and encourage and allow minor users to exchange harmful, illegal, and sexually explicit images
27
28   4
         See https://frozenfire.com/history-of-snapchat/



                                                           COMPLAINT                                     10
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 1 with adults. But also, these products provide predators with a safe and efficient vehicle to recruit
 2 victims. Snapchat is a go-to application for sexual predators because of these product features. 5   4F




 3              37.      Snap is widely accepted in the social media industry as having cornered the market
 4 on teen and tween engagement. It is the most popular social media product among tweens, teens,
 5 and young adults in the United States, and Snap works hard to market to and target this
 6 demographic – from product designs and features to commercials and merchandise to its logo.
 7
   Snap’s well-known logo is a ghost against a brightly colored background and some of the products
 8
   for which it is best known include silly photo filters and bitmoji (cartoons).
 9
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22
23              38.      Snap currently estimates more than 93 million Snapchat users in the U.S., including
24 17 million under the age of 18.
25              39.      Snap claims that it does not provide its product to children under 13 or children
26
     under 18 without parental consent. However, Snap designs and operates its product in a manner
27
28   5
         See, e.g., https://phonespector.com/blog/what-are-the-dangers-of-snapchat-to-avoid/



                                                        COMPLAINT                                            11
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 1 that is intended to evade parental consent, does not provide parents with a 1-800 number or staffed
 2 email address to report unauthorized use by their children, and often does not stop distributing its
 3 product even when it knows or should know that parental consent is lacking.
 4           40.      For years Snap has received reports of child abuse and bullying occurring through
 5 its product and because of its product features, 6 yet has kept those features in place as removing
                                                           5F




 6 them would impact the popularity of Snap’s social media product. Harmful and dangerous
 7
   interactions occur because of these and other Snapchat messaging features, which provide direct
 8
   and unsupervised access to children and teens. But also, Snapchat does not operate as advertised.
 9
   Snap’s disappearing design and marketing of this feature is particularly harmful to teens who rely
10
   on Snap when taking and sending photos, only learning after the fact that recipients have means to
11
   save photos – and are often bullied, exploited, and/or sexually abused as a direct result.
12
           41.     Snap has developed images for users to decorate the pictures or videos they post.
13
   Snap also has developed Lenses which are augmented reality-based special effects and sounds for
14
   users to apply to pictures and videos users post on Snapchat, and World Lenses to augment the
15
   environment around posts. Snap also has acquired publication rights to music, audio, and video
16
   content that its users can incorporate in the pictures and videos they post on Snapchat. These
17
   images, Lenses, and licensed audio and video content supplied and created by Snapchat frequently
18
19 make a material contribution to the creation or development of the user’s Snapchat posts. Indeed,
20 in many cases, the only content in a user’s Snapchat post are images, Lenses, and licensed audio
21 and video content supplied and created by Snapchat. When users incorporate images, Lenses,
22 music, audio, and video content supplied by Snapchat posts, Snapchat makes a material
23 contribution to the creation and/or development of their Snapchat postings and becomes a co-
24 publisher of such content. When malign users incorporate images, Lenses, music, audio, and video
25 content supplied by Snapchat to their posts, this enhances the psychic harm and defamatory sting
26
27   6
      See, e.g., https://www.forbes.com/sites/zakdoffman/2019/05/26/snapchats-self-destructing-messages-have-created-
28   a-haven-for-child-abuse/?sh=411b8e1d399a (Snapchat Has Become A ‘Haven for Child Abuse’ With Its ‘Self-
     Destructing Messages’).



                                                    COMPLAINT                                                     12
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 1 that minor users experience from third-party postings on Defendant Snap’s platform.
 2          42.     Moreover, Snap contracts for legal rights in this third-party content, such that it is
 3 not “third-party content” at all. Snap’s current Terms of Service grant Snap several, sweeping sets
 4 of legal rights, from licensing to ownership, as follows (and for example only as there are several
 5 provisions in Snap’s Terms of Service that address legal rights over user content, comments, and
 6 other usage and activities),
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   //
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21
     Snap directly profits from the videos and pictures and other content its users create in collaboration
22
     with Snap, as described above.
23
     C.     Defendants Designed and Distributed Inherently Dangerous and/or Defective
24
            Products to Minors and Failed to Warn
25
            43.     Meta and Snap’s social media products contain countless features that serve no
26
     critical purpose relating to product functionality or a user’s ability to access other users’ content.
27
     While this complaint addresses known features, on information and belief, there are countless other
28



                                                COMPLAINT                                               13
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 1 features currently unknown to Plaintiffs for the simple reason that these Defendants have
 2 concealed the truth and operate with zero transparency. Upon information and belief, it is in the
 3 public interest for this Court to permit discovery of all such product features and processes. The
 4 following describe just some such features and defective designs.
 5          44.    Meta and Snap design their products in a manner that results in evasion of parental
 6 consent and control.
 7
            45.    Meta and Snap claim to impose age restrictions for use of their products, including
 8
   that users must be at least 13 and must (or should, in the case of Meta) obtain parental consent if
 9
   under the age of 18. Nevertheless, Defendants provide access to millions of minors under 13, or
10
   under 18 without parental consent and know or should know that these users are not authorized.
11
            46.    Meta and Snap also design product features that assist minor users in evasion of
12
   parental oversight and otherwise prevent parents from reasonable access to their children’s
13
   activities. Snapchat’s self-destructing content design feature is one example, with Meta having
14
   implemented a similar (though not default) feature in its Instagram product in late 2021.
15
   Defendants also do not restrict access by minors based on excessive or unhealthy use and do not
16
   notify parents concerning excessive, unhealthy, or other dangerous use, despite Defendants’ actual
17
   tracking and knowledge of the same. Defendants do not notify parents when their children are
18
19 contacted or solicited by adults; do not verify emails or phone numbers; do not prevent minors
20 from opening multiple, secret accounts; and do not otherwise implement reasonable processes for
21 enforcement of their stated age limitations and restrictions, or enforcement of other terms
22 represented by Defendants as having been put in place for the safety of their users.
23          47.    Meta and Snap also do not provide parents with an accessible, effective, and staffed

24 reporting mechanism for unauthorized use by their minor children, and/or illegal or harmful
25 activity. In short, when harms occur and are identified by parents, more often than not, those
26 parents are then powerless to protect their children because of Meta and Snap’s inadequate designs.
27          48.    Meta and Snap offer limited in-app reporting features, which they do not explain or
28 disclose to parents prior to use of their apps by minor children. But also, those in-app features



                                             COMPLAINT                                              14
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 1 require that parents either have access to their child’s accounts, which often they do not, or their
 2 own accounts. Moreover, the in-app reporting mechanisms are defective and/or ineffective, and
 3 Meta does not respond to those reports in a manner designed to protect its minor users – as
 4 illustrated by Meta’s lack of response and insufficient response to the harms at issue in this
 5 complaint.
 6          49.     Meta and Snap’s public profile settings and product features – in place at all times
 7
     relevant to this Complaint – are also inherently dangerous and/or defective when utilized in
 8
     connection with minor users. Public profile and view settings allow strangers to view and message
 9
     underage users and connect strangers with underage users, resulting in exploitation and abuse.
10
     Defendants have the ability to restrict minor accounts, set those accounts to private, limit the
11
     information collected and disseminated/utilized in connection with those accounts, limit the use of
12
     recommendation technologies [product features] in connection with those accounts, and several
13
     other programming and/or product design changes Defendants could implement in a quick and
14
     cost-effective manner in order to better protect their minor users from these harms.
15
            50.     Meta and Snap’s direct messaging and recommendation technologies are also
16
     inherently dangerous and defective when utilized in connection with minor users. Defendants
17
     direct-messaging products provide other users—including anonymous and semi-anonymous adult
18
19 users, bullies, and other strangers for whom a parent would not allow access—with unrestricted
20 and unsupervised access to minor users. Minor users lack the cognitive ability and life experience
21 to identify online grooming behavior by prurient adults and the psychosocial maturity to decline
22 invitations to exchange salacious material and mass-messaging capabilities. And again, there are
23 several programming and/or product design changes Defendants could implement to protect their
24 youngest users but choose not to as a matter of Defendants’ cost-benefit analysis.
25          51.     Lastly, Meta and Snap employ recommendation technologies, through which they
26 affirmatively recommend and connect users to other users and/or groups. In Snap’s case this is
27 called “Quick Add,” while Defendant Meta calls this “People You May Know” for its Facebook
28 product and “Suggestions for You” for its Instagram product. These technologies function in a



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 1 similar (if not the same) manner; specifically, Defendants’ technologies/products utilize the
 2 extensive user data and information it collects from users to affirmatively direct users to one
 3 another in a manner intended to increase Defendants’ own engagement and, thus, profits.
 4 Defendants’ technologies/products push messages to users recommending that they connect,
 5 follow, friend, or otherwise, without regard to the risks caused by such affirmative connection
 6 efforts.
 7
              52.   Meta, for example, has actual knowledge that its user recommendation technologies
 8
     facilitate and contribute to most of the adult/minor grooming and exploitation that occurs on
 9
     Meta’s platform. Yet Meta has opted to continue utilizing those recommendation products anyway.
10
     //
11
              53.   Each of the above-described products is dangerous alone but are substantially more
12
     dangerous when combined. For example, Defendants’ direct-messaging products are more
13
     dangerous when coupled with minor accounts of which parents have no knowledge (or means to
14
     monitor) and do not consent; and when combined with Defendants’ public profile and
15
     recommendation features.
16
              54.   Meta and Snap have purposely designed their products to be as addictive as possible
17
     and have actual knowledge of the harm these addictive features cause. Defendants knowingly or
18
19 purposely designed their products to encourage addictive behaviors, for example,
20                  a. Instagram is designed around a series of features that do not add to the

21                     communication utility of the application, but instead seek to exploit minor

22                     users’ susceptibility to persuasive design and unlimited accumulation of

23                     unpredictable and uncertain rewards. Examples of this include but are not

24                     limited to “likes,” “followers,” algorithm-controlled feed, and unlimited
25                     scrolling features.
26                  b. Snapchat features a series of rewards including trophies, streaks, and other
27                     signals of social recognition. These variable and unknown reward and reminder
28                     systems are particularly addictive, especially in the case of children and teens.



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 1                      Other product examples include recommendation technologies and unlimited
 2                      scrolling features.
 3          55.     These product features serve no purpose other than creating dependencies on Meta
 4 and Snap’s products by children and teens, resulting in sleep deprivation, anxiety, depression,
 5 anger, shame, interpersonal conflicts, and other serious harms to mental and physical health.
 6          56.     Meta and Snap also send push notifications and emails to encourage addictive
 7
     behavior and to increase use of their social media products. Defendants’ communications are
 8
     triggered and based upon information collected from and about their users, and Defendants “push”
 9
     these communications to teen users in excessive numbers and at disruptive times of day. These
10
     notifications are specifically designed to, and do, prompt them to open Defendants’ social media
11
     products, resulting in greater profits to Meta and Snap.
12
            57.     These are just known examples, and Plaintiff A.C. believes that he will identify
13
     other examples of harmful product features through discovery in this case.
14
            58.     But also, Meta and Snap have each developed artificial intelligence technology that
15
     detects adult users who send sexually explicit content to children and receive sexually explicit
16
     images from children. These technologies furnish Meta and Snap with actual knowledge that a
17
     significant number of minor users of their products are solicited to send, and do send, sexually
18
19 explicit photos and videos of themselves to adult users in violation of 18 U.S.C. § 1591(a)(1)-(2).
20 Meta and Snap could protect their minor users, but in many instances, do not.
21 D.       Defendants’ Social Media Products are Products

22          59.     Instagram and Snapchat are products that are designed and manufactured by Meta

23 and Snap respectively. These products are designed to be used by children and are actively
24 marketed to children throughout the world.
25          60.     Meta and Snap make and distribute Instagram and Snapchat, respectively, with the
26 intent that they be used and consumed by the public as part of Meta and Snap’s regular business.
27          61.     Meta and Snap design Instagram and Snapchat to be used by minors and actively
28 market Instagram and Snapchat to minors across the United States.



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 1          62.     Meta and Snap refer to their social media products and product features as
 2 “products,” and designate them as products when it is to their benefit to do so.
 3 E.       Defendants’ Business Model is Based on Maximizing User Screen Time
 4          63.     Meta and Snap advertise their products as “free” because they do not charge their
 5 users for downloading or using their products. What many users do not know is that, in fact, Meta
 6 and Snap make a profit by finding unique and increasingly dangerous ways to capture user
 7
   attention and target advertisements to their users. Meta and Snap receive revenue from advertisers
 8
   who pay a premium to target advertisements to specific demographic groups of users in the
 9
   applications. Meta and Snap also receive revenue from selling their users’ data to third parties.
10
           64.     The amount of revenue Meta and Snap receive is based upon the amount of time
11
   and level of user engagement on their platforms, which directly correlates with the number of
12
   advertisements that can be shown to each user.
13
           65.     Meta and Snap use unknown and changing rewards that are designed to prompt
14
   users who consume their social media products in excessive and dangerous ways. Meta and Snap
15
   know, or in the exercise of ordinary care should know, that their designs have created extreme and
16
   addictive usage by minor users, and Meta and Snap knowingly design their products to encourage
17
   such addictive behaviors. This design conforms to well-established principles of operant
18
19 conditioning wherein intermittent reinforcement provides the most reliable tool to maintain a
20 desired behavior over time.
21          66.     Instagram and Snapchat are designed around a series of features that do not add to

22 the communication utility of the application, but instead seek to exploit minor users’ susceptibility
23 to persuasive design and unlimited accumulation of unpredictable and uncertain rewards, including
24 “likes” and “followers.” In the hands of children, this design is unreasonably dangerous.
25          67.     According to industry insiders, Meta and Snap have employed thousands of
26 psychologists and engineers to help make their products maximally addicting; to keep users, and
27 particularly young users, engaged longer and coming back for more. This is referred to as
28 “engineered addiction,” and examples include features like bottomless scrolling, tagging,



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 1 notifications, live stories, and “pull to refresh” features (based on how slot machines operate, this
 2 creates an endless feed, designed to manipulate brain chemistry, and prevent natural end points
 3 that would otherwise encourage users to move on to other activities).
 4             68.     Meta and Snap know that their products are addictive, and that millions of teen
 5 users want to stop using them but cannot.
 6             69.     Meta and Snap have also designed their products to maximize users’ screen time
 7
     by using complex algorithms designed to exploit human psychology and driven by the most
 8
     advanced computer algorithms and artificial intelligence available to some of the largest
 9
     technology companies in the world.
10
               70.     Meta and Snap’s recommendation systems select potential contacts and content for
11
     minor users not based on what they anticipate the user will prefer or to enhance their social media
12
     experience, but rather for the express purpose of habituating users to Meta and Snap’s social media
13
     products. In the words of one, high-level departing Meta employee:
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15
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17
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19
20
21
     “Why We Build Feeds” (October 4, 2019), at p. 1. 7
22
                                                             6F




               71.     Meta and Snap have designed algorithm-controlled product features to promote
23
     content and connections most likely to increase user engagement, despite their knowledge that
24
     content that generates extreme psychological reactions in minor users is more likely to trigger their
25
     engagement than content that is benign. Defendants expose users to significant amounts of content
26
     and connections that they would never see and/or meet but for Defendants’ products and designs,
27
28   7
         https://www.documentcloud.org/documents/21600853-tier1_rank_exp_1019



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 1 including content and connections that are inherently harmful to minor users’ health.
 2 F.       Minor Users’ Incomplete Brain Development Renders Them Particularly Susceptible
 3          to Manipulative Social Media Products with Diminished Capacity to Eschew Self-
 4          Destructive Behaviors and Less Resiliency to Overcome Negative Influences
 5          72.     The human brain is still developing during adolescence in ways consistent with the
 6 demonstrated psychosocial immaturity of adolescents. Specifically, adolescents’ brains are not
 7 yet fully developed in regions related to risk evaluation, emotional regulation, and impulse control.
 8          73.     The frontal lobes—and in particular the prefrontal cortex—of the brain play an
 9 essential part in higher-order cognitive functions, impulse control, and executive decision-making.
10 These regions of the brain are central to the process of planning and decision-making, including
11 the evaluation of future consequences and the weighing of risk and reward. They are also essential
12 to the ability to control emotions and inhibit impulses. MRI studies have shown that the prefrontal
13 cortex is one of the last regions of the brain to mature.
14          74.     During childhood and adolescence, the brain is maturing in at least two major ways.
15 First, the brain undergoes myelination, the process through which the neural pathways connecting
16 different parts of the brain become insulated with white fatty tissue called myelin. Second, during
17 childhood and adolescence, the brain is undergoing “pruning”—the paring away of unused
18 synapses, leading to more efficient neural connections. Through myelination and pruning, the
19 brain’s frontal lobes change to help the brain work faster and more efficiently, improving the
20 “executive” functions of the frontal lobes, including impulse control and risk evaluation. This shift
21 in the brain’s composition continues throughout adolescence and into young adulthood.
22          75.     In late adolescence, important aspects of brain maturation remain incomplete,
23 particularly those involving the brain’s executive functions and the coordinated activity of regions
24 involved in emotion and cognition. As such, the part of the brain that is critical for control of
25 impulses and emotions and for mature, considered decision-making is still developing during
26 adolescence, consistent with the demonstrated behavioral and psychosocial immaturity of
27 juveniles.
28          76.     The technologies in Meta and Snap’s social media products are designed to exploit



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 1 the diminished decision-making capacity, impulse control, emotional maturity, and psychological
 2 resiliency of minor users caused by incomplete brain development. Meta and Snap know that
 3 because their minor users’ frontal lobes are not fully developed, they experience enhanced
 4 dopamine responses to stimuli on Meta and Snap’s social media platforms and are therefore much
 5 more likely to become addicted to Meta and Snap’s products; exercise poor judgment in their
 6 social media activity; and act impulsively in response to negative social media encounters. Meta
 7 and Snap also know, or in the exercise of reasonable care should know, that minor users of their
 8 social media products are much more likely to sustain serious physical and psychological harm
 9 through their social media use than adult users.
10          77.    Nevertheless, Meta and Snap designed their social media products to be addictive
11 to minor users and failed to include safeguards to account for and ameliorate the psychosocial
12 immaturity of their minor users.
13 G.       Defendants Misrepresent the Addictive Design of Their Social Media Products
14          78.    Meta and Snap do not warn users of the addictive or harmful design of their
15 products. On the contrary, they consistently play down their products’ negative effects on teens in
16 public statements and advertising but then refuse to make their research public or available to
17 academics or lawmakers who ask for it.
18          79.    During the relevant time period, Meta and Snap represented to the public and
19 governments around the world that their products were safe and not addictive, and not designed to
20 be addictive. Defendants knew or should have known that their statements were false or materially
21 misleading.
22          80.    During the relevant time period, Meta and Snap advertised via commercials and/or
23 third parties that their products were fun and safe to use, age-appropriate for children as young as
24 12+, and that they employed their technologies to protect minor users from harm. Defendants knew
25 or should have known that their statements were false or materially misleading.
26          81.    Meta and Snap did not warn users or their parents of the addictive and mentally
27 harmful effects that the use of their products was known to cause amongst some minor users.
28          82.    Meta and Snap did not warn users or their parents of the harms certain of their



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 1 product features cause, particularly to minor users, such as public profile settings, unrestricted
 2 direct messaging, anonymous or semi-anonymous profiles, user recommendations, and similar.
 3 H.       Plaintiffs Disclaim Any and All Claims Seeking to Hold Defendants Liable as the
 4          Publisher or Speaker of Any Content Provided, Posted, or Created by Third Parties
 5          83.    Plaintiffs seek to hold Meta and Snap accountable for their own alleged acts and
 6 omissions. Plaintiffs’ claims arise from Meta and Snap’s status as designers, distributors, and
 7 marketers of defective social media products, as well as Meta and Snap’s own statements and
 8 actions, and failures to warn and act, and not as the speaker or publisher of third-party content.
 9          84.    Meta and Snap designed and have progressively modified their products to promote
10 problematic and excessive use that they know is indicative of addictive and self-destructive use.
11 Meta and Snap’s product features are addictive and harmful without regard to any content that may
12 exist on Defendants’ platforms.
13          85.    Meta and Snap have designed other product features that encourage and assist
14 children in evasion of parental oversight, protection, and consent, which features are wholly
15 unnecessary to the operation of their products and are harmful without regard to any content that
16 may exist on Defendants’ platforms.
17          86.    Meta and Snap’s products identify minors and collect a myriad of personal and
18 device data points from those minors, both on and off their platforms, then use those extensive
19 data points to direct specific content and connections to minors aimed at increasing minor user
20 engagement with their social media products. These technologies and Defendants’ design,
21 operation, and programming of the same affirmatively direct harmful content and predatory adult
22 users to Defendants’ vulnerable minor users, which harms Defendants know or should know about.
23          87.    Meta and Snap are responsible for these harms, which are caused by Defendants’
24 designs and design-decisions, not any third party or third-party content. Indeed, while it may be
25 that a third party creates a particular piece of harmful content, the teens and children harmed by
26 Meta and Snap’s social media products are not being harmed by a single piece of harmful content.
27 They are being harmed by Meta and Snap’s products, programming, and decisions to continue
28 exposing teens and children to harmful product features in the name of engagement.



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 1          88.    None of Plaintiffs’ Claims for Relief set forth herein treat Meta and Snap as a
 2 speaker or publisher of content posted by third parties. Rather, Plaintiffs seek to hold Meta and
 3 Snap liable for their own speech and their own silence in failing to warn of foreseeable dangers
 4 arising from anticipated use of their products. Defendants could manifestly fulfill their legal duty
 5 to design a reasonably safe social product and furnish adequate warnings of foreseeable dangers
 6 arising out of the use of their products without altering, deleting, or modifying the content of a
 7 single third-party post or communication. Some examples include,
 8                 a. Prioritizing internally their existing programming when it comes to content
 9                     pushed to users as well as enforcement of their own terms of service and
10                     community standards.
11                 b. Requiring identification upon opening of a new account and parental consent
12                     for users under 18 (which Snap currently claims to do but does not actually
13                     enforce) and restricting users under 18 to a single account.
14                 c. Email and phone number verification when any user opens a new account.
15                 d. Setting all minor accounts to private, and not allowing public profiles for any
16                     person under the age of 18.
17                 e. Limiting the types of data collected from minor users and not utilizing user,
18                     group, or content recommendation technologies on minor accounts, and
19                     otherwise limiting direct messaging products with any user under 18.
20                 f. Decreasing the speed of their recommendation technologies on minor accounts
21                     and restricting access for minors to addictive product features.
22          89.    These are just some examples, all of which could be accomplished easily and/or at
23 commercially reasonable cost and all of which can be accomplished by Defendants unilaterally
24 and without regard to third party content.
25                        V.      PLAINTIFF-SPECIFIC ALLEGATIONS
26          90.    John Doe currently is only 15 years old.
27          91.    He is a mature, respectful, and upbeat person, who enjoys playing sports and is
28 well-liked by his teachers and friends.



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 1          92.    John Doe opened his first Instagram account when he was only 10 years old, and
 2 he did so without his father’s knowledge or consent. Meta undertakes no reasonable effort to verify
 3 age or parental consent and makes its social media product available to minors in a way that makes
 4 it impossible for parents to prevent such access – even when they try.
 5          93.    Specifically, in October of 2017, John Doe went on a trip to Japan with his
 6 grandparents. His grandfather provided him with a cell phone upon arriving in Japan. One day
 7 later, John Doe opened his first Instagram account, without his parent or grandparents’ knowledge
 8 or consent. He was underage, which fact Meta knew or should have known based on his Instagram
 9 activity and/or data Meta routinely collects from users, including information that informs Meta
10 of each user’s estimated actual age. Meta allowed him to use the account regardless.
11          94.    A.C. only discovered the account because John Doe commented on an Instagram
12 post published by someone who knew A.C., and who notified A.C. of his son’s account. Upon
13 John Doe’s return from Japan the phone was confiscated and put in A.C.’s room for safe keeping,
14 and John Doe was told that he could not use Instagram. Again, however, Meta takes no reasonable
15 steps to confirm parental knowledge and consent, making it easy for underage children to continue
16 using its social media product.
17          95.    John Doe began sneaking into his father’s room and would use the phone to access
18 Instagram then put it back when he was done. John Doe was a good kid, and never gave his father
19 reason to mistrust him; however, and like many kids, his growing desire to continue using the
20 Instagram product caused him to act in uncharacteristic ways.
21          96.    One day in 2018, John Doe snuck into his father’s room only to find that the phone
22 was no longer there. This also did not prevent him from accessing Instagram. Instead, he began
23 using his computer and continued to use Instagram without his father’s knowledge or consent.
24          97.    Accessing Instagram via computer was not the same, however, so John Doe began
25 looking for solutions. In November 2018, he used a Visa gift card he had received (likely for his
26 birthday) to purchase a Samsung Galaxy S Blaze from eBay. But the Instagram app wouldn’t
27 update on that phone, so he used a gift card to purchase an LG Ultimate 2, also on eBay, and kept
28 the device hidden from his father. A.C. had no idea this was happening, while Meta did – at least,



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 1 the details of each new device and each new Instagram download are among the data points Meta
 2 collects from every user every time an account is accessed.
 3          98.     John Doe also accessed Instagram on a family device used for Pokémon GO. This
 4 was a device A.C. had purchased to replace his aging personal phone, but he was unhappy with
 5 the quality of the camera, so he disconnected the phone service, and they began using the device
 6 to play Pokémon GO together. On one occasion, he allowed John Doe to take the phone to a
 7 sleepover, on the condition that he would use it to play Pokémon GO only. While his father had
 8 no reason to mistrust him, it now appears from Meta’s data that John Doe accessed his Instagram
 9 account on that Wi-Fi accessible device on that one occasion as well.
10          99.     When A.C. discovered John Doe’s secret phone, they discussed the situation. John
11 Doe already understood that his purchase and use of a phone without his father’s permission was
12 wrong, but also, they discussed why it was so important for his parent to be aware of what he was
13 doing and for him to obtain parental permission and to keep his word. John Doe was not allowed
14 to keep using the secret phone.
15          100.    It was not until late 2018 when John Doe got his own cell phone. He and his father
16 discussed responsibility, the need for a device that could actually make and receive phone calls,
17 and the importance of using that device with A.C.’s permission and in ways of which he approved.
18 John Doe was not allowed to have an Instagram account. However, he began using his new cell
19 phone for Instagram in March of 2019 and added his number to his Instagram account in July of
20 2020. John Doe was once again using Instagram without his father’s knowledge or consent.
21          101.    In late 2019, A.C. realized that John Doe was using Instagram. More to the point,
22 he realized that he could not physically stop John Doe from using Instagram or Meta from
23 distributing its product to his son. Meta made no reasonable effort to verify age or parental consent
24 and made its product available to children on all manner of electronic devices, which devices are
25 everywhere. He also understood that John Doe was using Instagram to browse photos and videos
26 and to communicate with his friends. Under the circumstances, the only way A.C. could help
27 protect his son was to exercise parental control and oversight in his son’s use of Instagram.
28          102.    A.C. did not consent to John Doe using Instagram, but Meta had no reporting or



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 1 protection mechanism to prevent such use. A.C. understood, based on Meta marketing and
 2 reputation, that the biggest concern with Instagram was posting of potentially embarrassing content
 3 and kids being mean to one another. For these reasons, he talked with his son about taking care in
 4 comments made to others, he required access and reviewed John Doe’s account and
 5 communications and prohibited him from publishing posts. Ultimately, A.C. had no means to
 6 enforce these rules and now knows that John Doe did not always follow them.
 7          103.   By early 2020, John Doe was allowed to publish posts as long as he first obtained
 8 A.C.’s review and approval – which he did, for the most part. In January of 2021, A.C. opened
 9 his own Instagram, in the hopes that he could obtain a better sense of his son’s use and activities.
10 Eventually, he allowed John Doe to post without first seeking approval, based on his track record
11 of trustworthiness in this regard and because, with his own account, A.C. was receiving a
12 notification each time his son posted and was able to then review.
13          104.   Like Meta, Snap also designs and distributes its product in a manner that allows
14 minors to use the Snapchat product without parental knowledge or consent.
15          105.   A.C. does not know when John Doe opened his first Snapchat account and only
16 learned that John Doe had a Snapchat account after the events in this complaint took place. John
17 Doe opened that account without his father’s knowledge or consent.
18          106.   John Doe’s use of Instagram and Snapchat resulted in his exploitation, and caused
19 and/or worsened depression, anxiety, and obsessive behaviors – which harms were not just
20 foreseeable by Meta and Snap but have been identified by Defendant Meta as among the types of
21 harms use of its social media products cause for a significant number of minor users.
22          107.   On May 10, 2022, Instagram user _louis_moring_ connected with minor user John
23 Doe via Meta’s product features, including the Suggested for You and/or public profile features.
24 _louis_moring_ did not know John Doe in real life and would never have found him but for
25 decisions Meta made over the last several years with regard to its product design and distribution.
26 _louis_moring_ likewise would not have been able to initiate direct and unsupervised contact with
27 minor John Doe but for those Meta decisions.
28          108.   Instagram user _louis_moring_ began by following John Doe’s Instagram account.



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 1 John Doe was generally cautious, based on discussions with his father, and removed people he did
 2 not recognize or know in real life. This is what he did with _louis_moring_, only for that user to
 3 re-follow him quickly thereafter and then engage with him via Meta’s direct message product.
 4          109.    _louis_moring_ posed as a young, female user at all times relevant.
 5          110.    John Doe asked if he knew her, and she replied by expressing sexual interest in
 6 him. John Doe was a 14-year-old boy and was predictably responsive to _louis_moring_’s
 7 overtures. Moreover, _louis_moring_ had more than a thousand followers on Instagram,
 8 conveying that she was an established and trustworthy user who had not been reported to
 9 Instagram, was not a catfish, and was someone he could trust. _louis_moring_ began sending him
10 provocative photos and videos and asked him to send provocative photos and videos in return.
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20          111.    John Doe was reluctant to send photos of himself at first, even after
21 _louis_moring_ purported to send photos and videos of “herself.” Then the suggestion of
22 Snapchat came up, and John Doe agreed and shared his Snapchat username with _louis_moring_.
23 John Doe believed that he could safely share such content on Snapchat because of Snap’s
24 disappearing content features. He knew that this was something kids his age used Snapchat to do,
25 and reasonably believed that there was little to no risk as long as he sent the content via Snapchat.
26          112.    On May 11, 2022, John Doe used the Snapchat product to send three illicit photos
27 and two illicit videos to the user who contacted him via Instagram, with the understanding and
28 belief that this was a relatively safe way to send such content since it would disappear once viewed.



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 1 Instead, the user – a complete stranger to minor John Doe – sent him back a collage of his photos,
 2 via the Snapchat product, and told him that if he did not pay them immediately they would be
 3 sharing the three illicit photos and two illicit videos of John Doe to his family and friends. John
 4 Doe did not know that others could capture his content and is still not certain as to how
 5 _louis_moring_ was able to do so given how the Snapchat product is advertised by Snap.
 6          113.   John Doe’s Instagram and Snap profiles were publicly viewable when
 7 _louis_moring_ found him, which both Defendants previously utilized as account defaults even
 8 on minor accounts. But for public profile and viewability settings, _louis_moring_ would not have
 9 been able to find John Doe in the first place and would not have been able to see and take note of
10 all of John Doe’s “friends” on the two social media products, and even “friends” of “friends.”
11 These are inherently dangerous settings, particularly when it comes to minors like John Doe.
12          114.   But also, these two social media products – Instagram and Snapchat – work together
13 to amplify and exacerbate the harm. A common pattern among predators is to use Instagram’s
14 public profile and recommendation features and settings to find minors to exploit, then convince
15 those children to either provide their Snapchat username to them or open a Snapchat account to
16 enable such exploitation in what adult and minor users believe to be a risk-free environment.
17          115.   John Doe attempted to block the user from his Snapchat account, so
18 _louis_moring_ reached back out to him via direct message on his Instagram account.
19          116.   On May 11, 2022, _louis_moring_ used Meta’s product features to start a Group
20 Chat, which they titled “ABOUT TO EXPOSE [JOHN DOE]” while repeatedly sending direct
21 message threats to then 14-year-old John Doe that if he did not pay immediately his photos and
22 videos would be published to friends and family.
23          117.   From May 11 through May 13, 2022, John Doe tried changing his Instagram
24 username, blocking _louis_moring_ from his Instagram account, changing his profile text,
25 changing his profile settings to private, and anything else he could think to protect himself – but
26 nothing worked. That is simply not how Meta’s products are designed; Meta’s products prioritize
27 user engagement at the expense of user safety.
28          118.   No matter what John Doe did, _louis_moring_ got through to him using



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 1 Defendants social media products and product features and made their intention clear, and then
 2 14-year-old John Doe suffered greatly as a result.
 3         119.    Then _louis_moring_ began adding people John Doe knew in real life to the Group
 4 Chat “she” created on Instagram, and where “she” had published his intimate photos and videos.
 5 This content was taken of then 14-year-old John Doe and, as such, constitutes Child Sexual Abuse
 6 Material (CSAM) and publication of that material was illegal in multiple regards.
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20         120.    A.C. had no way of knowing what was happening to his own child under his own
21 roof because of the Instagram and Snap social media products; but they spent every day together
22 and A.C. knew that something was wrong. He noticed a change in John Doe’s mood starting on
23 May 11, 2022. John Doe was normally upbeat, chatty, and happy, but had become distracted,
24 bothered, and withdrawn. He was no longer interested in talking about his favorite sports or
25 engaging in conversation.
26         121.    A.C. attempted to check in with John Doe and asked if he was okay.
27         122.    On May 14, 2022, A.C. asked John Doe if there was something going on that he
28 did not know about, and John Doe said “yes.” A.C. asked if he wanted to talk about it, and John



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 1 Doe said “no.” However, when A.C. asked whether John Doe would be okay, John Doe said “I
 2 don’t know,” which is when A.C. knew that he couldn’t simply let it go. After several more
 3 questions and well-placed concern, John Doe finally told his father everything and A.C.
 4 immediately set out to help protect his son – not just from _louis_moring_ but also from the harms
 5 Snap’s product already had caused and Meta’s product was still causing to his son.
 6          123.    _louis_moring_ was just one “person,” who did not know John Doe and could not
 7 have done anything to hurt John Doe but for Meta and Snap’s products, failures to warn, and
 8 failures to provide any sort of reasonable safety features or reporting and enforcement
 9 mechanisms. Meta and Snap made it possible for that stranger to exploit and threaten A.C.’s son,
10 publish illicit and illegal content, seemingly without recourse, harass John Doe via private message
11 features, find and then harass John Doe’s friends and family and even their friends and family, and
12 otherwise perpetrate these harms. Meta and Snap never should have provided John Doe with access
13 to their products in the first place, and now A.C. needed to find a way to report and stop the harm
14 that was being caused.
15          124.    Only, as A.C. soon learned, Meta and Snap also designed their products in a manner
16 that makes the successful reporting and the protection of minors all but impossible.
17          125.    First, A.C. researched the Instagram product. He read every article he could find to
18 try to stop what was happening. When that didn’t help, he started looking for information on
19 Meta’s direct message and Group Chat features, then read through every Meta “Support”
20 document he found and scoured Meta’s sites and the internet at large to find a Meta support number
21 he could call to report what was happening – no such number existed, and nothing he found told
22 him how to stop what was happening. Meta provided no phone number or monitored email address
23 for reporting, and no immediate response mechanism, no matter how serious the harm. Meta did
24 not even provide a button minor users can use to report exploitation and harm occurring because
25 of the platform in order to obtain immediate help from Meta, despite representing in its terms to
26 users that it utilizes its technology to keep them safe. A.C. had no way to report the illicit images
27 of his minor child or get them taken down. He could not even stop them from being published and
28 copied countless times via Meta’s servers, which is precisely what was happening.



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 1          126.   The most A.C. could do was to navigate to the _louis_moring_ account and select
 2 a report account option (which had to be done from an existing Instagram account – which
 3 thankfully he had) and hope Meta received and acted on it immediately. Even then, A.C. could
 4 only select from one of a number of pre-designated reporting descriptions, without any option for
 5 direct contact with a Meta representative or any way to provide additional information.
 6          127.   On May 14, 2022, A.C. reported the _louis_moring_ account via John Doe’s
 7 account and his own, requested and downloaded an export of all content and data from John Doe’s
 8 account, then deleted John Doe’s account and uninstalled the Instagram app in the hopes that he
 9 could stop what Instagram was allowing.
10          128.   On May 15, 2022, A.C. asked another Instagram user, whose name he had seen in
11 the Group Chat before having taken the steps above, to check their Instagram account. The Group
12 Chat was not only still there – it now included more than 17 people, most of whom knew A.C. and
13 John Doe in real life and many of whom were John Doe’s classmates and friends (who also are
14 minors). A.C.’s report to Meta appeared to have done nothing.
15          129.   24 hours passed, and Meta had yet to take any action with regard to the
16 _louis_moring_ account, as that account was still up and active – and actively causing harm to
17 John Doe and A.C.
18          130.   May 15 was a Sunday. A.C. spent it with his son to make sure he was okay. They
19 talked about how to handle school the next day. They came up with a plan in case things went bad
20 and John Doe needed his father to come get him. They talked about what could happen, and how
21 things might be okay.
22          131.   A.C. did everything he could to protect his son – including from the harm John Doe
23 might suffer and/or cause himself because of Meta’s failure to act on A.C.’s report. A.C. was
24 extremely concerned and wanted to know that John Doe was not going to hurt himself.
25          132.   On May 16, John Doe went to school and made it through the day.
26          133.   Since making his report on May 14, A.C. had not stopped checking Instagram in
27 the hopes that Meta had taken some action to protect his son from the known and ongoing harm
28 that was snowballing out of control because of its social media product. On May 17, he received a



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 1 notification from Meta on his Instagram app and, when he opened the app on his Android, it simply
 2 said that his report was still “In Review.” A.C. was distraught and devastated.
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            134.    A.C. immediately checked the _louis_moring_ account and was distressed to find
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     it still active. Shortly thereafter he checked Instagram again, this time from his computer via the
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     Firefox web browser, and this time he got the message that Meta could not review his report due
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     to a technical issue. Meta suggested that he try reporting _louis_moring_ again.
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                                              COMPLAINT                                              32
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 1          135.   To be clear, this was not an update but, in fact, Meta responded to the same report
 2 A.C. had submitted in two different ways, depending on how A.C. accessed his Instagram account.
 3 These responses reflect a fundamental defect in Meta’s reporting mechanisms, and this was not
 4 the only time that this defect resulted in harm to Plaintiff A.C. and his son.
 5          136.   A.C. works with computers and technology for a living, and quite literally could
 6 not get through to anyone at Meta and could not get Meta to take down the CSAM it was hosting
 7 or to otherwise stop the incredible harms it was causing to his then 14-year-old son.
 8          137.    At this point, A.C. had been trying everything for more than three days, anxiously
 9 waiting for Meta to act and constantly worrying about his son’s safety and well-being. He knew
10 that his son’s intimate photos and videos were accessible to his classmates and others, and he could
11 not even get Meta – arguably the most sophisticated tech company in the world – to review the
12 offending account due to what Meta claimed to be a “technical issue.”
13          138.   In the meantime, Meta continued to earn revenue from the _louis_moring_ account
14 and all of the related account activity described above.
15          139.   Up to this point, A.C. had researched every Instagram report option and support
16 form and had followed Meta’s instructions precisely. As required by Meta he did not report the
17 Instagram user multiple times from a single account and did not falsely answer a question on any
18 report form available on the Instagram website (and in answering the questions honestly there was
19 no form he could submit). So, on May 17, 2022, A.C. went back to Meta’s Help Center.
20          140.   Meta’s Help Center provided two web forms for reporting content/accounts,
21 (1) Report Harassment or Bullying on Instagram and (2) Report Violations of Our Community
22 Guidelines. A.C. then tried to submit reports through these mechanisms, but when attempting to
23 file a report using either form (and answering the questions honestly), one of the four following
24 events occurred,
25                 a. Meta presented a message stating that if you have an Instagram account “you
26                     can report a photo or video from within the app.” And the form discontinued or
27                     became disabled.
28                 b. Meta presented a message stating that “If you’re not able to view the content



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 1                    you need to report, please have a friend copy and send you the link. Then, come
 2                    back here to report it. Note: You won’t be able to submit this form unless you
 3                    have the link to the abusive content.” And the form discontinued or became
 4                    disabled.
 5                 c. The Meta form presented a field requiring a link to the content being reported
 6                    in order to submit the form (which doesn’t exist in the case of abusive photos
 7                    or messages within a Group Chat).
 8                 d. The webpage immediately, unexpectedly, and for no apparent reason,
 9                    redirected to a generic, unrelated help page (taking him away from the form).
10         141.    Being a web developer, A.C. tried completing the forms Meta provided when
11 logged in and out of Instagram, from different web browsers, devices, and network connections,
12 to ensure that the outcome was not unique to him. It wasn’t. The barrier was with Meta alone,
13 evidencing additional product defects and resulting in more harms to A.C. and his son.
14         142.    At this point, A.C. again reported the _louis_moring_ account from within the
15 Instagram app. Sensing that this was a dead end, he searched for any possible means of getting
16 someone (anyone) at Meta to see the details of the harms that were taking place. He took the
17 following three actions.
18         143.    First, he reported the details of what was happening and the “technical issue” via
19 the “Report a Problem” feature in the Instagram app (intended for reporting technical bugs, not
20 abuse). His report read:
21         I received a notification from Instagram stating there was a “technical issue” reviewing the
22         account I reported. The offending account (_louis_moring_) is actively engaging in
           sextortion – sharing sexual images of others (including minors) with the victim’s followers
23         via Group Chat/Direct Message and demanding payment for their removal. As we (the
           victim/victim’s parent) no longer have access to the Group Chat/DM we are helpless and
24         unable to report anything other than the perpetrator’s account, which leads to the “technical
25         issues” noted above. The attached screenshot of the exploitative Group Chat was taken by
           another recipient before they deleted the message. I have redacted the victim/recipient
26         details from the screenshot to protect their privacy. We urgently need Instagram to review
           this issue. The sexual images of victims remain accessible to recipients of the Group Chat
27         request (friends/acquaintances/etc.) and many others are undoubtedly being victimized.
28         Please help.



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     He included a screenshot of the Group Chat with the “bug report” submission.
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            144.   Second, he again reported the _louis_moring_ account, via the “Report Violations
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     of Our Community Guidelines” web form, selecting that he did not have an Instagram account,
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10 which was the only method of actually submitting details via either form.
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            145.    Third, he replied to the auto-response email he received from Meta after completing
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     the report web form with further details and screenshots. Here is the auto-response Meta sent:
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                                              COMPLAINT                                               36
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11 And here is the response A.C. sent back to Meta,
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20          146.    On May 18, A.C. continued to monitor the _louis_moring_ account and check his

21 reports and emails for any status update from Meta.
22          147.    Finally, on Wednesday, May 18, 2022, the _louis_moring_ Instagram profile web

23 page showed “Sorry, this page isn’t available.” It took Meta several days and countless reports to
24 presumably take down a predator user – though A.C. could not even be certain that Meta had taken
25 down the account. A.C. also had no way to know or confirm whether the Group Chat and
26 exploitative photos and videos of his son were still accessible to others.
27          148.    Moreover, A.C. never received confirmation from Instagram that the
28 _louis_moring_ account had in fact been removed. A.C. searched himself for any means to



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 1 confirm that the account was removed (as opposed to the account holder changing its username or
 2 temporarily disabling the account) and discovered that none exists. Further, when he checked on
 3 May 18, 2022, via the Instagram app, he had the same “In Review” message for his reports of
 4 _louis_moring_ made May 14 and May 17.
 5          149.    A.C. continued to actively monitor the report status and to this day – almost five
 6 months after he made the first report – his Instagram app still states that the reports are “In
 7
   Review.”
 8
            150. In the meantime, A.C. could not be certain whether the account was removed; was
 9
   aware that there was still a chance that the Group Chat containing his son’s illicit photos and videos
10
   still existed and was accessible to an unknown number of people; was aware that the perpetrator
11
   was still in possession of his son’s photos and videos, and could continue distributing and
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   publishing them; and was painfully aware that the perpetrator was surely victimizing other children
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   while Meta refused to act on knowledge in its actual possession (several times over).
14
            151. A.C. became distraught and emotionally distressed as a direct and proximate result
15
   and proceeded to monitor Instagram daily in the coming weeks. No matter what he did, he could
16
   not get through to anyone at Meta and his many reports and details of the harms its product was
17
   causing – not just to his son but to other children – went unresolved.
18
19          152. Meta designed its system in such a manner that it provided ambiguous, conflicting,

20 and/or unpredictable responses, all of which were automated and generic. Meta did not provide
21 any means or mechanism through which A.C. could interact directly with a human being capable
22 of helping him address the serious and ongoing harms being caused to his child, and others.
23          153.    On May 21, 2022, A.C. discovered that the Instagram predator was using another

24 Instagram account. Not knowing whether Meta removed the reported account, A.C. had been
25 regularly searching Instagram for the _louis_moring_ username to make sure that the predatory
26 account was not active. On May 21, when running this same search, a previously unidentified
27 account that clearly belonged to the Instagram predator appeared.
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12 The Instagram predator’s username had gone from _louis_moring_ to louis_savoy_moring404
13 and even included the same photo as in the originally reported account.
14          154.   On information and belief, the Instagram predator was also likely using the same

15 IP address and device ID, which data Meta collects and tracks each time a user logs into their
16 Instagram account. Some of this data is unique, such that Meta could easily enforce its terms and
17 promises to users and parents and could protect users by simply not permitting banned users – like
18 this Instagram predator – to access or open additional Instagram accounts. In fact, opening a new
19 account after having one removed is explicitly in violation of Meta’s terms of use. Yet, on
20 information and belief, Meta does not take reasonable steps to identify banned users, as it would
21 necessarily have to do in order to enforce its own terms.
22          155.   Meta did not enforce its own terms in this instance, with regard to a violating user
23 that A.C. was able to identify with a single key-word search. At the same time, Meta profits with
24
   each new account opened and used, and profited from its choice to allow the offending user to
25
   continue using its product.
26
          156. But also, like this predatory user’s prior account, this newly identified account
27
   already had hundreds of followers, which likely would mislead other minor users into thinking
28



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 1 that the account holder was who the account claimed they were – which A.C. does not believe to
 2 be the case. Either this account had been around for some time, or this account holder was able to
 3 utilize Meta’s systems to quickly populate their account with followers.
 4          157.   However, Meta is able to quickly identify instances of abnormal and suspicious
 5 account activity, including things like follower churn and/or the addition of a significant number
 6 of followers from common sources, locations, and/or devices, which are indicative of predatory
 7
   users and single user multiple accounts. Indeed, Meta claims to collect extensive and invasive
 8
   personal, device, geographic, and other types of data for this very reason – to keep its users safe.
 9
   Meta’s Data Policy provides just some examples of the types of data it collects,
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14 While Meta’s Data Policy and Terms of Use, respectively, claim that Meta is collecting this data
15 in order to keep users safe and to investigate the types of reports Meta received from A.C.,
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 1          158.    But as evidenced by what happened here, Meta does not in fact utilize the data it
 2 collects to keep its users safe – at least not in any reasonable and/or routine manner. If Meta did,
 3 it would be identifying and removing predators like this one well before they obtained hundreds,
 4 even thousands, of followers; and before they could exploit and abuse minor users, like John Doe,
 5 via Instagram and Meta’s public profile and direct messaging product features.
 6          159.    Instead, this Instagram predator was able to open or access multiple accounts, even
 7
     after being reported and despite Meta’s actual knowledge that they were exploiting minors and
 8
     knowingly circulating Child Sexual Abuse Material via Meta’s Instagram product for purposes of
 9
     extortion. Instagram had actual knowledge of the harms and victims of these abuses.
10
            160.    On May 21, A.C. immediately reported this additional Instagram account via the
11
     Instagram app and the “Report Violations of Our Community Guidelines” form on the Instagram
12
     website. A.C. provided the following details to Instagram via the web form,
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24 On May 22, after seeing that the reported account was still active on Instagram, A.C. sent a detailed
25 response to the automated email Meta’s systems sent him,
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           161.   This time it didn’t take Meta four days. A.C. received confirmation later on May
17
     22 that the louis_savoy_moring404 Instagram account had been removed for violating
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     Instagram’s Community Guidelines.
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                                           COMPLAINT                                           42
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 1          162.    Only it turns out that Meta let the Instagram predator open a seemingly unlimited
 2 number of Instagram accounts, all using the same or similar photos and/or variations of the same
 3 first and last name. A.C. identified more than a dozen different accounts readily identifiable as
 4 belonging to this same Instagram predator. There are undoubtedly more; A.C. simply needed to
 5 stop looking for his own physical and emotional health.
 6          163.    Meta could very easily use the data it collects to identify and block individuals who
 7
     pose a threat to minors and have already been found to have violated Meta’s terms in a serious
 8
     and/or harmful manner. Meta has the ability to block not just the reported username, but all
 9
     usernames reasonably associated with the violating user. This type of unilateral step would be
10
     taken without regard to any content and would protect millions of children from these types of
11
     harms; it would also, of course, impact Meta in that such predatory users would no longer be able
12
     to open and operate multiple Instagram accounts.
13
            164.    Meta does not warn minor users or their parents that it does not block users found
14
     to have violated its terms and/or used its product for illegal activities. On the contrary, Meta
15
     represents that it uses its technology and the data it collects from users to keep children safe.
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            165.    On May 24, 2022, A.C. found another account opened by the Instagram predator,
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     which embedded the same photo as the first two and used the same first and last name,
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                                                COMPLAINT                                                43
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 1              166.     A.C. submitted the same types of reports, but this time Meta did nothing. On May
 2 26, 2022, seeing that the rebecca_louis_moring69 account was still active, A.C. sent a follow up
 3 email to Meta, including a graphic demonstrating the predator’s account history, the ongoing
 4 situation, and the seriousness of the situation. He wrote, “Please review the screenshots I have
 5 included, providing evidence of this user’s ongoing criminal activity. I reported the account on
 6 Tuesday, May 24, and it is still active and continuing to victimize children. Please, please help.”
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                167.     Only then did Meta remove the rebecca_louis_moring69 account. It took multiple
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     reports over several days and A.C. sending Meta a detailed timeline with screen shots, including
23
     an article about a 17-year-old boy who died of suicide after being sextorted. 8 A.C. wrote, “This is
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                                                                                                7F




     the result of sextortion. Please help.”
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         https://www.cnn.com/2022/05/20/us/ryan-last-suicide-sextortion-california/index.html



                                                       COMPLAINT                                      44
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            168.   A.C. provided this information to Meta, in the hopes of reaching a human being at
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     Meta who could help him protect his son and other children being harmed by the identified and
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 1 reported Instagram predator (in the exact same manner as described in this article). A.C. was
 2 terrified and shaken, thinking of how close his own son had come to these same feelings of despair
 3 because of what Snap and Meta did. A.C. felt an obligation to do everything he could to report this
 4 predator and to save other children from the same fate.
 5          169.   And at all times Meta had the ability to block the predatory user, but instead, its
 6 systems were designed in such a manner that A.C. had no way to connect with a living person; and
 7
   when he did manage to get a report submitted through Meta’s defective in-app and Help Center
 8
   reporting mechanisms, Meta’s responses were inconsistent and unhelpful.
 9
           170. Meta at all times had the ability to block predatory users on a unilateral basis but
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   delayed and/or failed to do so. More children were victimized as a direct and proximate result.
11
           171. To this day, the Instagram predator continues to operate on the Instagram platform
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   without consequence and Meta continues to profit directly and/or indirectly as a result. A.C. has
13
   identified numerous different accounts, which identification is quick and easy – even without the
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   knowledge and resources of Meta Platforms, Inc. The following is just one more example, which
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   account A.C. identified on June 13, 2022,
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            172.   Again, the Instagram predator used the same photo and same first and last name as
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     part of their Instagram Username. Again, A.C. reported the Instagram predator to Meta, using the
26
27 same methods he used to report the other violating accounts.
28 //



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 1          173.    This time, however, Meta sent A.C. two entirely different automated responses,
 2 depending on whether he accessed Instagram via his web browser or the app. Both responses stated
 3 that Meta had not or would not be acting on A.C.’s report.
 4          174.    Specifically, when A.C. checked with the web browser, Meta’s automated response
 5 was that the account “likely doesn’t go against [Meta’s] Community Guidelines.”
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            175.    Though when A.C. checked in-app, Meta’s response to the same report once again
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     differed. In-app, Meta told A.C. that it didn’t remove the account due to the high volume of reports
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     Meta receives. That is, three days later and according to Meta’s in-app message it had not yet even
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     reviewed the report of exploitation and abuse.
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13          176.   Following the above responses from Meta, A.C. submitted additional reports and

14 documentation to Meta in further hopes that Meta would act. As of June 23, 2022 – 10 days after
15 discovering the account and submitting the initial report – the louis._moring account was still
16 active on the Instagram platform.
17          177.   This user also and again has a significant number of followers, particularly if the
18 account was relatively new – suggesting a common pattern, which would also be identifiable and
19 known to Meta itself, but to no one else. Meta has the ability to cross reference the multiple
20 reported accounts, check their followers and the time and manner in which those followers were
21 added, and enforce the law and its own terms by using that data to identify and stop known
22 Instagram predators actively using the Instagram product to prey on minor users.
23          178.   Meta was negligent, if not willful, in its failure to remove accounts operated by this
24 particular Instagram predator despite A.C.’s continued reporting and submission of ever-growing
25
   details and evidence.
26
           179. At this point, A.C. is trying to protect not just his minor child but the other minors
27
   who are being exploited and abused because of Meta’s Instagram product, while Meta itself
28



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 1 continues to profit directly and indirectly from this criminal enterprise. Indeed, the above photos
 2 are just some of the reports and information A.C. provided to Meta in and after May 2022.
 3          180.   In June of 2022, John Doe began complaining of various problems, including
 4 headaches, inability to sleep and waking up with racing thoughts, rapid heartbeat, sharp, localized
 5 pain that comes and goes in his neck, lower back, and legs, tingling and numbness in his palms
 6 and fingertips, shortness of breath and feeling like he “can’t breathe or take a deep breath,” jaw
 7
   clenching, mood fluctuations, and stress and anxiety.
 8
           181. John Doe reported in the weeks that followed that what happened in May 2022
 9
   popped into his head a couple times each day. He tried to not think about it, but then it would be
10
   there, and he felt inside like he did when the whole thing happened. He felt like his world was
11
   falling apart; he suffered from a generalized feeling of doom, which he couldn’t shake the rest of
12
   the day.
13
           182. A.C. has taken John Doe to the doctor and is taking him to counseling. John Doe
14
   has been seriously and irreparably harmed. He has worked on these issues for several months with
15
   professional support and the ongoing support of his family; and the current plan is to take things
16
   day-by-day and see how they progress.
17
           183. A.C. has also been seriously and irreparably harmed as a result of Meta’s
18
19 distribution of its social media product to his son, its complete failure to provide any reasonable
20 reporting mechanism in connection with that distribution, and its failure to act despite A.C.’s many
21 detailed reports and pleas for help.
22          184.   A.C.’s mental and physical health have suffered greatly as a direct and proximate

23 result of Instagram’s actions and failures to act. A.C. cannot sleep or stay asleep most nights and
24 wakes up in a panic. He has not had a good night’s sleep for months and cannot stop thinking about
25 the harms to his son and the harms Meta is causing other children, up to and including exploitation
26 and even suicide.
27          185.   A.C. is suffering extreme anxiety and stress as a direct and proximate result of
28 Meta’s actions and failure to act to the point where it is impacting every aspect of his life and



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 1 health. He can no longer work for more than small periods of time, which has severely impacted
 2 his income and livelihood. He is having vision problems due to the stress, as well as incredible
 3 physical pain, including but not limited to extreme abdominal pain, trouble breathing, neck,
 4 shoulder, and back pain, and multiple other physical symptoms that have made it difficult for A.C.
 5 to perform basic functions on a day-to-day basis.
 6          186.    A.C. is struggling with his mental and physical health far beyond anything he has
 7
     ever experienced, to the point where it feels like something is broken inside of him. He cannot stop
 8
     thinking and worrying about his son and the kids Meta is actively harming by allowing this known
 9
     Instagram Predator to continue using its social media product for exploitation and abuse. He
10
     worries to the point of paralysis about the kids suffering the same trauma and life-altering harms
11
     foisted on his son and, even more, the kids who will turn to suicide as a result. For the first time in
12
     his life, A.C. feels as though things are out of control. He is struggling under the knowledge that
13
     there is literally nothing more he can do to help those children, due to the way Meta decided to
14
     design and operate its product, and yet he feels as though he cannot move forward unless he tries
15
     to help to them.
16
            187.    A.C. is struggling with the pain and guilt of knowing what is taking place on
17
     Instagram, the children who are being harmed, and how Meta could stop these harms; then having
18
19 to live with the reality that he is doing everything he can and that despite all of his technical
20 knowledge, experience, and efforts to get help, he cannot make Meta act. Despite this realization,
21 A.C. feels a moral obligation to do more and is drowning under the guilt of not being able to protect
22 children from harm.
23          188.    But for Defendants’ failure to conduct reasonable verification of age, identity,

24 and/or parental consent, John Doe would not have been exposed to Instagram and Snap’s
25 inherently addictive and dangerous social media products and product features.
26          189.    But for Defendants’ targeted marketing, misleading representations, and inherently
27 defective and/or harmful disappearing message products, John Doe would not have suffered the
28 exploitation and harms he did.



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 1          190.     But for Defendant Meta’s inherently defective product, failure to provide effectual
 2 reporting mechanisms, and failure to act despite actual knowledge of harmful, illegal, and/or
 3 violating conduct perpetrated on minors because of its Instagram product, John Doe would not
 4 have suffered the exploitation and harms herein, and A.C. would not be suffering the ongoing
 5 mental anguish and emotional distress caused by his inability to protect his son and other children.
 6          191.     A.C. is a web developer and considers himself sophisticated when it comes to
 7
     computers, systems, and technology in general. He took all reasonable and recommended steps to
 8
     protect and watch over his son, and to monitor his son’s online activities, and then took every step
 9
     available to prevent and mitigate the harms the moment he learned of them. Yet still, his knowledge
10
     and expertise never stood a chance against Meta’s drive to increase engagement at any cost.
11
                                     VI.     PLAINTIFFS’ CLAIMS
12
                     COUNT I - STRICT PRODUCT LIABILITY (Design Defect)
13
            192.     Plaintiffs reallege each of the allegations in the preceding paragraphs as if full set
14
     forth herein.
15
            193.     Under Restatement (Second) of Torts § 402(a) and California law, one who sells
16
     any product in a defective condition unreasonably dangerous to the user is subject to liability for
17
     physical harm thereby caused to the user if (a) the seller is engaged in the business of selling such
18
19 a product, and (b) it is expected to and does reach the user or consumer without substantial change
20 in the condition which it was sold.
21          194.     Defendants’ products are defective because the foreseeable risks of harm posed by

22 the product’s design could have been reduced or avoided by the adoption of a reasonable
23 alternative design by Defendants and the omission of the alternative design renders the product
24 not reasonably safe. These defective conditions rendered these products unreasonably dangerous
25 to persons or property and existed at the time the product left Defendants’ control, reached the user
26 or consumer without substantial change in the condition, and its defective condition was a cause
27 of Plaintiffs’ injuries.
28



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 1          195.   Defendants designed, manufactured, marketed, and sold social media products that
 2 were unreasonably dangerous because they were designed to be addictive to the minor users to
 3 whom Defendants actively marketed and because the foreseeable use of Defendants’ products
 4 causes mental and physical harm to minor users.
 5          196.   Defendants’ products were unreasonably dangerous because they contained
 6 numerous design characteristics that are not necessary for the utility provided to the user but are
 7
   unreasonably dangerous and implemented by Defendants solely to increase the profits they derived
 8
   from each additional user and the length of time they could keep each user dependent on their
 9
   product.
10
           197. Defendants’ products were unreasonably dangerous because they contain no
11
   effectual reporting mechanisms, or other means to ensure user safety, despite the incredible and
12
   inherent dangers they pose to minor users.
13
   A.      Inadequate Safeguards From Harmful and Exploitative Content
14
           198. Snapchat and Instagram are defectively designed.
15
           199. As designed Snapchat and Instagram’s recommendation and other product features
16
   are not reasonably safe because they affirmatively direct minor users to harmful and exploitative
17
   content while failing to deploy feasible safeguards to protect vulnerable teens from such harmful
18
19 exposures. It is feasible to design an algorithm and technologies that do not direct minors to
20 harmful content and to do so without altering, modifying, or deleting any third-party content posted
21 on Defendants’ social media products. The cost of designing these products to incorporate such
22 safeguards would be negligible while benefit would be high in terms of reducing the quantum of
23 mental and physical harm sustained by minor users and their families.
24          200.   As designed, Snapchat and Instagram recommendations and other product features
25 are not reasonably safe because they affirmatively direct and recommend minor users to harmful
26 groups and other users, while failing to deploy feasible safeguards to protect vulnerable teens from
27 such harmful exposures. It is feasible to design an algorithm and technologies that do not make
28 harmful connection recommendations to minor users, or any connection recommendations at all;



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 1 it is feasible to design an algorithm and technologies that do not recommend harmful groups to
 2 minor users, or any group recommendations at all; and it is feasible to restrict access to minor users
 3 by strangers and adult users via direct messaging, to restrict and limit such access to users already
 4 on a minor user’s “friend” list, or to prevent such access altogether. Defendants know that these
 5 product features cause a significant number of harms to their minor users, such as sexual
 6 exploitation, bullying, and encouragement of self-harm and suicide.
 7
           201. Reasonable users (and their parents) would not expect that Defendants’ products
 8
   would knowingly expose them to such risks and dangers and/or that Defendants’ products would
 9
   direct them to harmful users at all, much less in the manipulative and coercive manner that they
10
   do. Defendants have and continue to knowingly use their algorithms and other technologies on
11
   users in a manner designed to affirmatively change their behavior, which methods are particularly
12
   effective on (and harmful to) Defendants’ youngest users.
13
   B.      Failure to Verify Minor Users’ Age and Identity
14
           202. Snapchat and Instagram are defectively designed.
15
           203. As designed, Defendants’ products are not reasonably safe because they do not
16
   provide for adequate age verification by requiring users to document and verify their age and
17
   identity.
18
19         204. Adults frequently set up user accounts on Defendants’ social media products

20 disguising their identity and/or posing as minors to groom unsuspecting minors to exchange
21 sexually explicit content and images, which frequently progresses to sexual exploitation and
22 trafficking, and commercial sex acts.
23          205.    Minor users of social media and their parents do not reasonably expect that prurient

24 adults set up fraudulent accounts on Defendants’ social media products and pose as minors for
25 malign purposes. Moreover, and as Defendants know, minor users lack the life experience and
26 frontal lobe development necessary to protect themselves from such predators – providing access
27 to these children is an inherently dangerous product mechanic, which dangers are known and have
28 been studied by these defendants but were not otherwise known to the general public.



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 1          206.    Minor users whose parents have taken affirmative steps to keep them away from
 2 Defendants’ products often open multiple accounts, such that Defendants know or have reason to
 3 know that the user is underage and/or does not have parental permission to use their product.
 4 Defendants already have the information and means they need to ascertain with reasonable
 5 certainty their users’ actual age. Defendants utilize these tools to investigate, assess, and report on
 6 percentages and totals of underage users for internal assessment purposes. They then choose to
 7
   simply do nothing about that information as it relates to the specific, underaged users themselves.
 8
            207. But also, predator users who are engaged in illegal, harmful, and/or violating
 9
   activities also often open multiple accounts, such that Defendants know or have reason to know
10
   that the user is engaged in such harmful conduct and/or has violated their terms such that their use
11
   of the product is no longer duly authorized. Defendants are encouraging and creating these dangers
12
   and enabling these predators through their product features and refusal to enforce their own terms.
13
   Defendants also already have the information and means they need to ascertain with reasonable
14
   certainty their users’ actual age, and when one user has multiple accounts. Defendants utilize these
15
   tools to investigate, assess, and report on percentages and totals of underage users for internal
16
   assessment purposes. They then choose to simply do nothing about that information as it relates to
17
   the specific, predatory users themselves, to the detriment of other, vulnerable users – including
18
19 kids, to whom Defendants market and addictively design their products.
20          208.    Reasonably accurate age and identity verification is not only feasible but widely

21 deployed by online retailers and internet service providers. Defendants not only can estimate the
22 age of their users, but they do.
23          209.    The cost of incorporating age and identify verification into Defendants’ products

24 would be negligible, whereas the benefit of age and identity verification would be a substantial
25 reduction in severe mental health harms, sexual exploitation, and abuse among minor users of
26 Defendants’ products and would discourage the use of said products for exploitation and abuse of
27 minors.
28



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 1 C.       Provision of Inadequate and Unreasonable Parental Control and Monitoring
 2          Products and Processes
 3          210.    Snapchat and Instagram are defectively designed.
 4          211.    Defendants have intentionally designed products to frustrate the exercise of
 5 parental responsibility by their minor users’ parents. Parents have a right to monitor their children’s
 6 social media activity to protect them from harm. Defendants have designed products that make it
 7
   difficult, if not impossible, for parents to exercise parental responsibility.
 8
           212. It is feasible to design a social media product that requires parental consent for users
 9
   under the age of 18 and prohibits users under the age of 13.
10
           213. Defendants’ products are also defective for lack of parental controls, permission,
11
   and monitoring capability available on many other devices and applications.
12
           214. Defendants’ products are designed with specific product features intended to
13
   prevent and/or interfere with parents’ reasonable and lawful exercise of parental control,
14
   permission, and monitoring capability available on many other devices and applications.
15
   D.      Design of Addictive Social Media Products
16
           215. Snapchat and Instagram are defectively designed.
17
           216. As designed, Defendants’ social media products are addictive to minor users as
18
19 follows: When minors use design features such as “likes” it causes their brains to release dopamine,
20 which creates short term euphoria. However, as soon as dopamine is released, minor users’ brains
21 adapt by reducing or “downregulating” the number of dopamine receptors that are stimulated and
22 their euphoria is countered by dejection. In normal stimulatory environments, this dejection
23 abates, and neutrality is restored. However, Defendants’ algorithms are designed to exploit users’
24 natural tendency to counteract dejection by going back to the source of pleasure for another dose
25 of euphoria. As this pattern continues over a period of months and the neurological baseline to
26 trigger minor users’ dopamine responses increases, they continue to use the social media products
27 at issue, not for enjoyment, but simply to feel normal. Once they stop using these products, minor
28 users experience the universal symptoms of withdrawal from an addictive substance including



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 1 anxiety, irritability, insomnia, and craving.
 2          217.    Addiction is not restricted to substance abuse disorders. Rather, the working
 3 definition of addiction promulgated in the seminal article Addictive behaviors: Etiology and
 4 Treatment published by the American Psychological Association in its 1988 Annual Review of
 5 Psychology defines addiction as,
 6
            a repetitive habit pattern that increases the risk of disease and/or associate personal
 7          and social problems. Addictive behaviors are often experienced subjectively as
            ‘loss of control’ – the behavior contrives to occur despite volitional attempts to
 8
            abstain or moderate use. These habit patterns are typically characterized by
 9          immediate gratification (short term reward), often coupled with delayed deleterious
            effects (long term costs). Attempts to change an addictive behavior (via treatment
10          or self-initiation) are typically marked with high relapse rate.
11          218.    Addiction researchers agree that addiction involves six core components:
12 (1) salience—the activity dominates thinking and behavior; (2) mood modification—the activity
13 modifies/improves mood; (3) tolerance—increasing amounts of the activity are required to achieve
14 previous effects; (4) withdrawal—the occurrence of unpleasant feelings when the activity is
15 discontinued or suddenly reduced; (5) conflict—the activity causes conflicts in relationships, in
16 work/education, and other activities; and (6) relapse—a tendency to revert to earlier patterns of the
17 activity after abstinence or control.
18          219.    Social media addiction has emerged as a problem of global concern, with
19 researchers all over the world conducting studies to evaluate how pervasive the problem is.
20 Addictive social media use is manifested when a user (1) becomes preoccupied by social media
21 (salience); (2) uses social media in order to reduce negative feelings (mood modification); (3)
22 gradually uses social media more and more in order to get the same pleasure from it
23 (tolerance/craving); (4) suffers distress if prohibited from using social media (withdrawal); (5)
24 sacrifices other obligations and/ or causes harm to other important life areas because of their social
25 media use (conflict/functional impairment); and (6) seeks to curtail their use of social media
26 without success (relapse/loss of control).
27          220.    The Bergen Facebook Addiction Scale (BFAS) was specifically developed by
28 psychologists in order to assess subjects’ social media use using the aforementioned addiction



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 1 criteria, and is by far the most widely used measure of social media addiction. Originally designed
 2 for Facebook, BFAS has since been generalized to all social media. BFAS has been translated into
 3 dozens of languages, including Chinese, and is used by researchers throughout the world to
 4 measure social media addiction.
 5          221.   BFAS asks subjects to consider their social media usage with respect to the six
 6 following statements and answer either (1) very rarely, (2) rarely, (3) sometimes, (4) often, or (5)
 7 very often,
 8                 a.      You spend a lot of time thinking about social media or planning how to
 9                         use it.
10                 b.      You feel an urge to use social media more and more.
11                 c.      You use social media in order to forget about personal problems.
12                 d.      You have tried to cut down on the use of social media without success.
13                 e.      You become restless or troubled if you are prohibited from using social
14                         media.
15                 f.      You use social media so much that it has had a negative impact on your
16                         job/studies.
17 Subjects who score a “4” or “5” on at least 4 of those statements are deemed to suffer from social
18 media addiction.
19          222.   Addictive use of social media by minors is psychologically and neurologically
20 analogous to addiction to internet gaming disorder as described in the American Psychiatric
21 Association's 2013 Diagnostic and Statistical Manual of Mental Disorders (DSM-5), which is used
22 by mental health professionals to diagnose mental disorders. Gaming addiction is a recognized
23 mental health disorder by the World Health Organization and International Classification of
24 Diseases and is functionally and psychologically equivalent to social media addiction. The
25 diagnostic symptoms of social media addiction among minors are the same as the symptoms of
26 addictive gaming promulgated in DSM-5 and include:
27                 a.      Preoccupation with social media and withdrawal symptoms (sadness,
28                         anxiety, irritability) when device is taken away or not possible (sadness,



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 1                         anxiety, irritability).
 2                 b.      Tolerance, the need to spend more time using social media to satisfy the
 3                         urge.
 4                 c.      Inability to reduce social media usages, unsuccessful attempts to quit
 5                         using social media.
 6                 d.      Giving up other activities, loss of interest in previously enjoyed activities
 7                         due to social media usage.
 8                 e.      Continuing to use social media despite problems.
 9                 f.      Deceiving family members or others about the amount of time spent on
10                         social media.
11                 g.      The use of social media to relieve negative moods, such as guilt or
12                         hopelessness.
13                 h.      and Jeopardized school or work performance or relationships due to social
14                         media usage.
15          223.   Defendants’ advertising profits are directly tied to the quantity of their users’ online
16 time and engagement, and their algorithms and other product features are designed to maximize
17 the time users spend using the product by directing them to content that is progressively more and
18 more stimulative. Defendants enhance advertising revenue by maximizing users’ time online
19 through a product design that addicts them to the platform.
20          224.   It is feasible to make Defendants’ products not addictive to minor users by turning
21
     off the algorithms, limiting the frequency and duration of access, and suspending service during
22
     sleeping hours. Designing software that limits the frequency and duration of minor users’ screen
23
     use and suspends service during sleeping hours could be accomplished at negligible cost; whereas
24
     the benefit of minor users maintaining healthy sleep patterns would be a significant reduction in
25
     depression, attempted and completed suicide, and other forms self-harm among this vulnerable
26
     age cohort.
27
     //
28



                                                COMPLAINT                                               58
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 1 E.       Inadequate Notification of Parents of Dangerous and Problematic Social Media Usage
 2          by Minor Users
 3          225.    Snapchat and Instagram are defectively designed.
 4          226.    Defendants’ products are not reasonably safe as designed because they do not
 5 include any safeguards to notify users and their parents of usage that Defendants knows to be
 6 problematic and likely to cause negative mental health effects to users, including excessive passive
 7
   use and use disruptive of normal sleep patterns. This design is defective and unreasonable.
 8
           227. It is reasonable for parents to expect that social media products that actively
 9
   promote their platform to minors will undertake reasonable efforts to notify parents when their
10
   child’s use becomes excessive. It is feasible for Snapchat and Instagram to design a product that
11
   identifies a significant percentage of their minor users who are using the product more than three
12
   hours per day or using it during sleeping hours at negligible cost.
13
           228. Likewise, it is feasible for Snapchat and Instagram to design a product that notifies
14
   parents when strangers attempt to engage directly with them, and/or otherwise limits the ability to
15
   find and access minors on their platforms, absent parental consent.
16
           229. Defendants’ products are not reasonably safe as designed because, despite
17
   numerous reported instances of child sexual solicitation and exploitation by adult users,
18
19 Defendants have not undertaken reasonable design changes to protect underage users from this
20 abuse, including notifying parents of underage users when they have been messaged or solicited
21 by an adult user or when a user has sent inappropriate content to minor users or even blocking
22 users known to be engaged in exploitation and abuse because of their products.
23          230.    Defendants’ entire business is premised upon collecting and analyzing user data

24 and it is feasible to use Defendants’ data and algorithms and other technologies to identify and
25 restrict improper sexual solicitation, exploitation, and abuse by adult users.
26          231.    Moreover, it is reasonable for parents to expect that platforms such as Instagram
27 and Snapchat, which actively promote their services to minors, will undertake reasonable efforts
28 to identify users suffering from mental injury, self-harm, or sexual abuse and implement



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 1 technological safeguards to notify parents by text, email, or other reasonable means that their child
 2 is in danger; and to identify abusive and violating users and block them.
 3          232.   As a proximate result of these dangerous and defective design attributes of
 4 Defendants’ products, John Doe suffered severe mental harm. Plaintiffs did not know, and in the
 5 exercise of reasonable diligence could not have known, of these defective design attributes in
 6 Defendants’ products prior to 2022.
 7
           233. As a result of these dangerous and defective design attributes of Defendants’
 8
   products, Plaintiff A.C. suffered emotional distress, physical harms, and pecuniary hardship
 9
   arising from both his son’s mental harm and Defendant Meta’s refusal to accept and act on his
10
   well-documented reports.
11
           234. Defendants are further liable to Plaintiffs for punitive damages based upon the
12
   willful and wanton design of their products that were intentionally marketed and sold to underage
13
   users, whom they knew would be seriously harmed through their use of Snapchat and Instagram.
14
                 COUNT II – STRICT PRODUCT LIABILITY (Failure to Warn)
15
           235. Plaintiffs reallege each of the allegations in the preceding paragraphs as if full set
16
   forth herein.
17
           236. Defendants’ products are defective because of inadequate instructions or warnings
18
19 because the foreseeable risks of harm posed by these products could have been reduced or avoided
20 by the provision of reasonable instructions or warnings by the manufacturer and the omission of
21 the instructions or warnings renders the product not reasonably safe. This defective condition
22 rendered the products unreasonably dangerous to persons or property, existed at the time the
23 products left Defendants’ control, reached the user or consumer without substantial change in the
24 condition in which they were sold, and were a cause of Plaintiffs’ injuries.
25          237.   Defendants’ products are unreasonably dangerous and defective because they
26 contain no warning to users or parents regarding the addictive design and effects and inherent
27 defects of Instagram and Snapchat.
28 //



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 1          238.   Defendants’ social media product rely on highly complex and proprietary
 2 algorithms and similar technologies that are both undisclosed and unfathomable to ordinary
 3 consumers, who do not expect that social media platforms are physically and/or psychologically
 4 addictive.
 5          239.   The magnitude of harm from use of Defendants’ products is horrific, ranging from
 6 simple diversion from academic, athletic, and face-to-face socialization to sleep loss, severe
 7
   depression, anxiety, self-harm, and suicide.
 8
           240. The harms resulting from minors’ addictive use of social media platforms have
 9
   been not only well-documented in professional and scientific literature, but Defendants had actual
10
   knowledge of such harms.
11
           241. Defendants’ products are unreasonably dangerous because they lack any warnings
12
   that foreseeable product use can disrupt healthy sleep patterns or specific warnings to parents when
13
   their child’s product usage exceeds healthy levels or occurs during sleep hours. Excessive screen
14
   time is harmful to adolescents’ mental health and sleep patterns and emotional well-being.
15
   Reasonable and responsible parents are not able to accurately monitor their child’s screen time
16
   because most adolescents own or can obtain access to mobile devices and engage in social media
17
   use outside their parents’ presence.
18
19         242. It is feasible for Defendants’ products to report the frequency and duration of their

20 minor users’ screen time to their parents without disclosing the content of communications at
21 negligible cost.
22          243.   It is feasible for Defendants’ products to report dangerous and/or harmful events

23 impacting minor users to minor users’ parents at negligible cost.
24          244.   Defendants knew about these harms, knew that users and parents would not be able
25 to safely use their products without warnings, and failed to provide warnings that were adequate
26 to make the product reasonably safe during ordinary and foreseeable use by children.
27          245.   As a result of Defendants’ failure to warn, John Doe suffered mental harm from his
28 use of Instagram and Snapchat.



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 1          246.     As a result of Defendants’ failure to warn, Plaintiff A.C. has suffered emotional
 2 distress, physical harm, and pecuniary hardship.
 3          247.     Defendants are further liable to Plaintiffs for punitive damages based upon their
 4 willful and wanton failure to warn of known dangers of their products that were intentionally
 5 marketed and sold to teenage users, whom they knew would be seriously harmed through their use
 6 of Instagram and Snapchat.
 7
                                       COUNT III – NEGLIGENCE
 8
            248.     Plaintiffs reallege each of the allegations in the preceding paragraphs as if full set
 9
     forth herein.
10
            249.     At all relevant times, Defendants had a duty to exercise reasonable care and caution
11
     for the safety of individuals using their products, such as John Doe.
12
            250.     Defendants owe a heightened duty of care to minor users of their social media
13
     products because adolescents’ brains are not fully developed, resulting in a diminished capacity to
14
     make good decisions regarding social media usage, eschew self-destructive behaviors, and
15
     overcome emotional and psychological harm.
16
            251.     As product manufacturers marketing and selling products to consumers,
17
     Defendants owed a duty to exercise ordinary care in the manufacture, marketing, and distribution
18
19 of their products, including a duty to warn minor users and their parents of hazards that Defendants
20 knew to be present, but not obvious, to underage users and their parents.
21          252.     As business owners, Defendants owe their users who visit their social media

22 platforms and from whom they derive billions of dollars per year in revenue a duty of ordinary
23 care substantially similar to that owed by physical business owners to its business invitees.
24          253.     Defendants were negligent, grossly negligent, reckless and/or careless in that they
25 failed to exercise ordinary care and caution for the safety of underage users, like John Doe, using
26 their social media products.
27          254.     Defendants were negligent in failing to conduct adequate testing and failing to
28 allow independent academic researchers to adequately study the effects of their products and levels



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 1 of problematic use amongst teenage users. Defendants know that their products are harmful, cause
 2 extensive mental harm, and that minor users are engaging in problematic and addictive use that
 3 their parents are helpless to monitor and prevent.
 4          255.    Defendants were negligent in failing to provide adequate warnings about the
 5 dangers associated with the use of social media products and in failing to advise users and their
 6 parents about how and when to safely use their social media platforms and features.
 7
           256. Defendants were negligent in failing to fully assess, investigate, and restrict the use
 8
   of their social media products by adults to sexually solicit, abuse, manipulate, and exploit minor
 9
   users of their social media products.
10
           257. Defendants were negligent in failing to provide users and parents the tools to ensure
11
   their social media products are used in a limited and safe manner by underage users.
12
           258. Defendants were negligent in failing to provide users and parents with reasonable
13
   and effectual reporting mechanisms, and for failing to enforce their own terms of service upon
14
   notice of illegal conduct and/or violations of terms – which failures resulted in harm to other users,
15
   including minor users who should not have had access to Defendants’ products in the first place.
16
           259. As a result of Defendants’ negligence, John Doe suffered severe mental harm.
17
           260. As a result of Defendants’ negligence, Plaintiff A.C. suffered emotional distress,
18
19 physical harm, and pecuniary hardship.
20          261.    Defendants are further liable to Plaintiffs for punitive damages based upon their

21 willful and wanton conduct toward underage users, including John Doe, whom they knew would
22 be seriously harmed through the use of their social media products.
23   COUNT IV – VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW, CAL.

24                               BUS & PROF. CODE §§ 17200, et seq.
25          262.    Plaintiffs reallege each of the allegations in the preceding paragraphs as if full set
26 forth herein.
27          263.    Defendants are corporations and thus each of them is a “person,” as defined by
28 California Business & Professions Code § 17201.



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 1          264.    The UCL prohibits all conduct that is unlawful, unfair, or fraudulent.
 2          265.    Defendants’ conduct is unlawful as set forth in Counts I–III, above.
 3          266.    Defendants’ conduct is unlawful because they have knowledge of users under the
 4 age of 18 on their platforms who lack parental consent to use their products and, in fact, actively
 5 target, market to, and encourage use of their social media products by minors under the age of 18
 6 who lack parental consent to use their products.
 7
           267. Defendants engaged in fraudulent and deceptive business practices in violation of
 8
   the UCL by promoting products to underage users, including John Doe, while concealing critical
 9
   information regarding the addictive nature and risk of harm these products pose. Defendants knew
10
   and should have known that their statements and omissions regarding the addictive and harmful
11
   nature of their products were misleading and therefore likely to deceive the members of the public
12
   who use Defendants’ products and who permit their underage children to use Defendants’
13
   products. Had Plaintiff A.C. known of the dangerous nature of Defendants’ products, he would
14
   have taken early and aggressive steps to stop or limit his son’s use of them.
15
           268. Defendants’ practices are unfair and violate the UCL because they offend
16
   established public policy, and because the harm these practices cause to consumers greatly
17
   outweighs any benefits associated with them. Additionally, Defendants have designed their
18
19 products to lock-in users, especially children and teens. They know that minors want to use their
20 products and that the more minors invest in Defendants’ products the harder it is for them to switch.
21 It is hard to switch because of network effects and sunk costs, and Defendants design their products
22 explicitly around these designs for the purpose of locking-in users. As of now, each of these
23 defendants have locked-in the majority (possibly over 80%) of all U.S. teens aged 13 to 17 and
24 with access to the internet. Defendants are actively working to hit 100%.
25          269.    Defendants’ conduct has resulted in substantial injuries that Plaintiffs could not
26 reasonably have avoided because of Defendants’ deceptive conduct. This substantial harm is not
27 outweighed by any countervailing benefits to consumers or competition.
28 //



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 1          270.      As a direct and proximate result of the foregoing acts and practices, Defendants
 2 have received, or will receive, income, profits, and other benefits, which they would not have
 3 received if they had not engaged in the violations of the UCL described herein. As a direct and
 4 proximate result of the foregoing acts and practices, Defendants have also obtained unfair
 5 advantages over similar businesses that have not engaged in such practices.
 6          271.      As a result of Defendants’ UCL violations, Plaintiffs have suffered injury in fact
 7
     and lost money as set forth herein.
 8
            272.      Accordingly, Plaintiffs seek injunctive and equitable relief to halt and remedy
 9
     Defendants’ unlawful, fraudulent, and unfair conduct.
10
                                   COUNT V – UNJUST ENRICHMENT
11
            273.      Plaintiffs reallege each of the allegations in the preceding paragraphs as if full set
12
     forth herein.
13
            274.      As a result of Defendants’ conduct detailed herein, Defendants received a benefit.
14
     Because Defendants’ advertising profits are directly tied to the number of user accounts and the
15
     amount of time those users spend on Instagram and Snapchat, Defendants benefited directly from
16
     John Doe’s unauthorized use of their products and also from the predatory user (and predatory
17
     users in general) enabled and assisted by Defendants’ products.
18
19          275.      It would be unjust and inequitable for Defendants to retain the ill-gotten benefits at

20 Plaintiffs’ expense, in light of Defendants’ acts and omissions described herein.
21          276.      Accordingly, Plaintiffs seek damages in an amount to be proven at trial.

22                                COUNT VI – INVASION OF PRIVACY

23                   (California Constitutional Right to Privacy, Cal. Const. Art. 1, § 1)

24          277.      Plaintiffs reallege each of the allegations in the preceding paragraphs as if full set
25 forth herein.
26          278.      Defendants intentionally intruded upon Plaintiff A.C.’s solitude, seclusion, or
27 private affairs by designing their product with features that frustrate and interfere with parents’
28 ability to monitor and control their children’s social media usage.



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 1          279.    These intrusions are highly offensive to a reasonable person, particularly given
 2 Defendants’ interference with the fundamental right of parenting and their exploitation of
 3 children’s special vulnerabilities for commercial gain.
 4          280.    Plaintiffs were harmed by Defendants’ invasion of privacy, as detailed herein.
 5          281.    Plaintiffs therefore seek compensatory and punitive damages in amounts to be
 6 determined at trial, as well as injunctive relief requiring Defendants to cease the harmful practices
 7
   described throughout this complaint.
 8
                    COUNT VII – INFLICTION OF EMOTIONAL DISTRESS
 9
                                     (as against Defendant Meta only)
10
           282. Plaintiffs reallege each of the allegations in the preceding paragraphs as if full set
11
   forth herein.
12
           283. Defendant Meta engaged in extreme and outrageous conduct with reckless
13
   disregard of the probability of causing severe emotional distress to Plaintiffs and others when it
14
   failed to provide parents with a reasonable and effective means to report unauthorized use, illegal
15
   conduct, and violations of Meta’s terms of service that posed significant danger to their children
16
   and other young users.
17
           284. Defendant Meta likewise engaged in extreme and outrageous conduct when it
18
19 received notice of the publication of CSAM from a concerned parent and failed to respond, delayed
20 its response, and/or ultimately failed to act reasonably to protect its minor users.
21          285.    Defendant Meta likewise engaged in extreme and outrageous conduct when it made

22 the decision to allow the Instagram predator to continue using its product, and ignored repeated
23 reports, with documentation, and pleas from Plaintiff A.C. to protect its minor users.
24          286.    Plaintiff A.C. first reported the predator account on May 14 and reported it from
25 both John Doe’s Instagram as well as his own. Meta proceeded to not respond and delay its
26 response, then claimed technical issues. It took several days for the user account to go dark, but
27 even then, Meta refused to say whether it had disabled the account and/or whether any action had
28 been taken with the Group Chat created to sextort A.C.’s minor child – in fact, Meta was instead



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 1 allowing the Group Chat to continue, with addition of more users and escalating publication of
 2 CSAM, despite actual knowledge of what had occurred.
 3           287.   Meta’s own internal documents make clear that it is aware of the dangers of its
 4 product, including the potential for exploitation and abuse. Despite this knowledge, Meta has
 5 refused to provide parents with any reasonable and effective means to report such harms and
 6 protect their children.
 7           288.   Meta’s conduct was outrageous and offensive by any measure.
 8           289.   It is inconceivable that any company would distribute its product to children and
 9 then fail to provide parents with a means to contact them and/or effectively report harms once
10 discovered – though that is precisely what Meta did.
11           290.   Plaintiff A.C. has suffered severe emotional, physical, and pecuniary harms as a
12 result.
13           291.   Plaintiffs therefore seek damages in amounts to be determined at trial.
14                                    DEMAND FOR JURY TRIAL
15           Plaintiffs hereby demand a trial by jury.
16                                       PRAYER FOR RELIEF
17           WHEREFORE, Plaintiffs pray for judgment against Meta and Snap for monetary
18 damages for the following harms:
19           1.     Past and ongoing physical and mental pain and suffering of John Doe, in an
20 amount to be more readily ascertained at the time and place set for trial.
21           2.     Loss of future income and earning capacity of John Doe.
22           3.     Past and future medical expenses of John Doe.
23           4.     Monetary damages suffered by A.C.
24           5.     Loss of future income and earning capacity of A.C.
25           6.     Past and future medical expenses of A.C.
26           7.     Past and ongoing physical and mental pain and suffering of A.C., in an
27 amount to be more readily ascertained at the time and place set for trial.
28           8.     Punitive damages.



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 1         9.     For the reasonable costs and attorney and expert/consultant fees incurred in
 2 this action.
 3         10.    For injunctive relief.
 4         11.    Such other and further relief as this Court deems just and equitable.
 5
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